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                                                                    RAILROAD COMPANY
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                                                               11   [Additional Counsel Listed on Following Page]
                                                               12
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                                                 UNITED STATES DISTRICT COURT
       & MACHTINGER LLP




                                                               13
                                                                                                CENTRAL DISTRICT OF CALIFORNIA
                                                               14
                                                               15    ARCONIC INC., et al.,                 Case No. 2:14-CV-06456-GW (Ex)
                                                                                                           Assigned to Honorable George H. Wu
                                                               16
                                                                                            Plaintiffs,
                                                               17                                          JOINT NOTICES, MSJS, AND P&AS RE:
                                                                     v.                                    CERCLA LIABILITY BY DEFS.
                                                               18                                          (A) PMC SPECIALTIES GROUP, INC.
                                                                     APC INVESTMENT CO., et al.,           AND FERRO CORPORATION (PMC
                                                               19
                                                                                                           PROPERTY)
                                                               20                           Defendants.    (B) UNION PACIFIC RAILROAD
                                                               21                                          COMPANY (CHRYSLER PROPERTY),
                                                                                                           (C) HALLIBURTON AFFILIATES, LLC.;
                                                               22                                          INTERVENORS FIREMAN’S FUND
                                                               23                                          INSURANCE COMPANY AND
                                                                                                           FEDERAL INSURANCE COMPANY, AS
                                                               24                                          INSURERS OF PALLEY SUPPLY
                                                               25                                          COMPANY; AND KEKROPIA, INC.
                                                                                                           (PATSOURAS PROPERTY)
                                                               26
                                                                                                            [Separate Statement of Uncontroverted Facts
                                                               27                                           and Conclusions of Law; Declarations;
                                                                                                            Requests for Judicial Notice; and [Proposed]
                                                               28
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
                                                                    88151-00029/3942474.1
                                                                                                                                  MSJS, AND PS&AS ISO MSJS
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                                                                1                                Orders/Judgments filed herewith]
                                                                2                                Date:     May 17, 2021
                                                                3                                Time:     8:30 a.m.
                                                                                                 Judge:    The Honorable George Wu
                                                                4                                Place:    Courtroom 9D, 9th Floor
                                                                5    AND RELATED CROSS
                                                                     ACTIONS, COUNTERCLAIMS
                                                                6    AND THIRD-PARTY
                                                                7    COMPLAINTS

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                                                               28   ATTORNEYS FOR DEFENDANT KEKROPIA, INC.
                                                                                                             MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1                       Moving Defendants’ Notices of Motions and Motions
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                                                                1                    PMC Property Defendants’ Notice of Motion and Motion
                                                                2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                                3            PLEASE TAKE NOTICE that at 8:30 a.m. on May 17, 2021, or as or as soon
                                                                4   thereafter as the as the matter may be heard, in Courtroom 9D, at 350 West 1st
                                                                5   Street, Los Angeles, California, Defendant PMC Specialties, Inc. and FERRO
                                                                6   CORPORATION (collectively “PMC”), shall move the Court for a judgment
                                                                7   granting summary judgment in its favor and dismissing Plaintiffs claims for relief
                                                                8   under 42 U.S.C. section 9601, et seq. (“CERCLA”), including their first claim for
                                                                9   relief for contribution under CERCLA, and their third claim for relief for
                                                               10   declaratory judgment for contribution under CERCLA.
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                                                               11            PMC makes this motion on the grounds that Plaintiff has not, and cannot
                                                               12   demonstrate a causal connection between the hazardous substances released at the
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
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                                                               13   PMC Site and those same or substantially similar hazardous substances in the
                                                               14   Omega OU-2 Plume. Based on the available facts, Plaintiffs cannot establish the
                                                               15   existence of a plausible migration pathway which would allow hazardous
                                                               16   substances to migrate from the PMC Site to the Omega OU-2 Plume. The
                                                               17   available data demonstrates that no mixing, commingling, or intersection of the
                                                               18   PMC Plume and the Omega OU-2 Plume has occurred.
                                                               19            In support of this motion, PMC presents this motion, the accompanying
                                                               20   Moving Defendants’ Memorandum of Points and Authorities, the Declaration of
                                                               21   Earl Hagstrom and exhibits thereto, the Declaration of Richard Vogl and exhibits
                                                               22   thereto, the Moving Defendants’ Statement of Uncontroverted Facts and
                                                               23   Conclusions of Law pursuant to Local Rule 56-1, the pleadings and records on file
                                                               24   with the Court, oral argument, and any other matters that the parties may submit or
                                                               25   the Court may deem appropriate. PMC shall also lodge a proposed Judgment
                                                               26   pursuant to Local Rule 56-1.
                                                               27   ///
                                                               28   ///
                                                                                                                        MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                                                                                 MSJS, AND PS&AS ISO MSJS
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                                                                1            This motion is made following the conference of counsel pursuant to L.R. 7-
                                                                2   3 which took place on January 5, 2021. Hagstrom Declaration, ¶ 9.
                                                                3
                                                                4    DATED: January 14, 2021                BASSI EDLIN HUIE & BLUM LLP
                                                                5
                                                                6                                     By:         /s/ Earl L. Hagström
                                                                                                            Earl L. Hagström
                                                                7
                                                                                                            Daniel E. Trowbridge
                                                                8                                           Attorneys for Defendants PMC Specialties
                                                                9                                           Group, Inc. and Ferro Corporation
                                                               10
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       & MACHTINGER LLP




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                                                                1         Chrysler Property Defendant Union Pacific’s Notice of Motion and Motion
                                                                2   TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
                                                                3            PLEASE TAKE NOTICE that at 8:30 a.m. on May 17, 2021, or as or as soon
                                                                4   thereafter as the as the matter may be heard, in the courtroom of the Honorable
                                                                5   George H. Wu., United States District Judge, located in the United States
                                                                6   Courthouse, Courtroom 9D, 350 West 1st Street, Los Angeles, California,
                                                                7   defendant Union Pacific Railroad Company (“Union Pacific”) will appear and
                                                                8   move the Court for partial summary judgment against Plaintiffs on Plaintiffs’ First
                                                                9   and Third Causes of Action (contribution and declaratory relief) under the
                                                               10   Comprehensive Environmental Response, Compensation and Liability Act
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                                                               11   (“CERCLA”), Section 113(f)) with respect to the Chrysler Property. Union Pacific
                                                               12   makes this Motion pursuant to Rule 56 of the Federal Rules of Civil Procedure and
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
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                                                               13   Central District Local Rule 56-1, on the grounds that the undisputed facts
                                                               14   demonstrate that Plaintiffs’ contribution claims fail as a matter of law because
                                                               15   Union Pacific is not one of the categories subject to the liability provisions of
                                                               16   CERCLA section 107(a).
                                                               17            This Motion is based upon this Notice of Motion and Motion, the attached
                                                               18   Memorandum of Points and Authorities, the accompanying Declarations of Sedina
                                                               19   L. Banks, David Ruiz, and James A. Levy, Request for Judicial Notice, and all
                                                               20   supporting evidence filed concurrently herewith, the accompanying Statement of
                                                               21   Uncontroverted Facts and Conclusions of Law filed concurrently herewith, all of
                                                               22   the records, pleadings and papers on file in this action, and upon such further oral or
                                                               23   documentary evidence as may be presented at or before the hearing on this motion.
                                                                    ///
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                                                                1            The Motion is made following the conference of counsel for the parties
                                                                2   pursuant to Central District Local Rule 7-3, which took place on a Zoom video call
                                                                3   on January 5th. Declaration of Sedina L. Banks, ¶ 38.
                                                                4
                                                                     DATED: January 14, 2021                 GREENBERG GLUSKER FIELDS
                                                                5                                            CLAMAN & MACHTINGER LLP
                                                                6
                                                                7
                                                                                                       By:          /s/ Peter A. Nyquist
                                                                8
                                                                                                             David E. Cranston
                                                                9                                            Peter A. Nyquist
                                                                                                             Sedina L. Banks
                                                               10                                            Sherry E. Jackman
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                            Attorneys for Defendant Union Pacific
                                                                                                             Railroad Company
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       & MACHTINGER LLP




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                                                                1                Patsouras Property Defendants’ Notice of Motion and Motion
                                                                2   TO ALL PARTIES AND TO ATTORNEYS OF RECORD:
                                                                3            PLEASE TAKE NOTICE that on May 17, 2021 at 8:30 a.m., or as soon
                                                                4   thereafter as the matter may be heard in Courtroom 9D, at 350 West 1st Street, Los
                                                                5   Angeles, California before the Honorable George H. Wu, Defendant Halliburton
                                                                6   Affiliates, LLC, Intervenors Fireman’s Fund Insurance Company and Federal
                                                                7   Insurance Company, as Insurers of Palley Supply Company, and Kekropia, Inc.
                                                                8   (collectively, the “Patsouras Property Defendants”) will and hereby do move this
                                                                9   Court for Summary Judgment against Plaintiffs under Federal Rule of Procedure
                                                               10   56. Plaintiffs alleged that the Patsouras Property Defendants are liable under
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                                                               11   CERCLA for Plaintiffs’ response costs for the OU-2 groundwater. The basis for
                                                               12   the Motion is that Plaintiffs cannot prove that a hazardous substance which may
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                            Los Angeles, California 90067
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                                                               13   have been released onto the Patsouras Property soil) has traveled from the soil
                                                               14   surface to a depth of 35 to 74 feet below the surface to end up in the OU-2
                                                               15   groundwater.
                                                               16            This Motion is based on this Notice of Motion, the Moving Defendants’
                                                               17   Common Statement of Facts and Summary, the Patsouras Property Defendants’
                                                               18   Memorandum of Points and Authorities, the Declaration of William D. Wick and
                                                               19   exhibits thereto, the complete record of this action, and any oral argument presented
                                                               20   at the hearing on this Motion. This Motion is made following the conference of
                                                               21   counsel pursuant to Local Rule 7-3 on January 5, 2021.
                                                               22
                                                               23    DATED: January 14, 2021                WACTOR & WICK LLP
                                                               24
                                                               25                                     By:         /s/ William D. Wick
                                                                                                            William D. Wick
                                                               26
                                                                                                            Attorneys for Defendant Halliburton
                                                               27                                           Affiliates, LLC
                                                               28
                                                                                                                        MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1
                                                                     DATED: January 14, 2021         BASSI EDLIN HUIE & BLUM LLP
                                                                2
                                                                3
                                                                                               By:         /s/ Farheena A. Habib
                                                                4                                    Farheena A. Habib
                                                                5                                    Attorneys for Interveners Fireman’s Fund
                                                                6                                    Insurance Company and Federal Insurance
                                                                                                     Company, as Insurers for Palley Supply
                                                                7                                    Company
                                                                8
                                                                9    DATED: January 14, 2021         OTTEN LAW, PC
                                                               10
                                                                                               By:         /s/ Victor Otten
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                    Victor Otten
                                                               12                                    Attorneys for Defendant Kekropia, Inc.
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                            Los Angeles, California 90067
       & MACHTINGER LLP




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                                                               11                      2.      Plaintiffs Must Prove that Each Moving Defendant is a
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                                                                1           PMC PROPERTY DEFENDANTS’ MEMORANDUM OF POINTS
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                          2049 Century Park East, Suite 2600




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                            Los Angeles, California 90067
       & MACHTINGER LLP




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                                                                1
                                                                              CHRYSLER PROPERTY DEFENDANT UNION PACIFIC’S
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GREENBERG GLUSKER FIELDS CLAMAN




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                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




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                                                               14                      HAS ACKNOWLEDGED LIABILITY FOR THE DISPOSAL OF

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                                                                1                           MOVING DEFENDANTS’
                                                                2                JOINT MEMORANDUM OF POINTS AND AUTHORITIES
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                                                                1   I.       MOVING DEFENDANTS’ COMMON STATEMENT OF FACTS
                                                                2            AND SUMMARY
                                                                3            Plaintiffs disposed of thousands of tons of hazardous wastes at the former
                                                                4   Omega Chemical facility (now the epicenter of the Omega Superfund Site) over a
                                                                5   15-year period. Plaintiffs’ toxic wastes contaminated not only the soil and
                                                                6   groundwater at and under the Omega Site itself, but also contaminated the
                                                                7   groundwater flowing from the Site—a plume of contamination that now extends at
                                                                8   least four and a half miles downgradient of the Omega Site. The contaminated
                                                                9   groundwater plume was designated by the U.S. Environmental Protection Agency
                                                               10   (“EPA”) as “Operable Unit 2,” or “OU-2” for short.
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                                                               11            EPA identified the Plaintiffs as the primary culprits of the OU-2
                                                               12   contamination for their waste disposed at the Omega facility, and EPA’s
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                                                               13   environmental contractor, CH2M Hill, confirmed after years of investigation that
                                                               14   Plaintiffs’ waste releases from the former Omega Chemical facility are “the main
                                                               15   source of contamination in OU-2.” 1
                                                               16            For more than a decade, EPA has been investigating and identifying other
                                                               17   parties that owned or operated on properties in the path of the OU-2 plume to assess
                                                               18   whether operations or spills on any of those properties during the parties’
                                                               19   ownership or operation of the property may have resulted in the incremental
                                                               20   addition of hazardous substances to the mass of Plaintiffs’ contaminants already
                                                               21   present in the OU-2 plume. These parties are referred to as “potentially responsible
                                                               22   parties” or “PRPs”.
                                                               23            After identifying the universe of PRPs, EPA sent two types of letters to the
                                                               24   PRPs: “General Notice Letters” and “Special Notice Letters.” These letters inform
                                                               25
                                                               26   1
                                                                     Final Remedial Investigation/Feasibility Study Reports, Omega Chemical
                                                                    Corporation Superfund Site, Operable Unit 2, Los Angeles County, California,
                                                               27
                                                                    Volume 1, CH2M HILL, Aug. 2010, § 8.1.2, p. 8-4; Declaration of Sedina L.
                                                               28   Banks, Exhibit 34.
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   the PRPs regarding their identification as a PRP, their potential liability at the
                                                                2   Omega Superfund site, information regarding the site and other PRPs, and
                                                                3   negotiations for the cleanup of the site.2 EPA policy provides that General Notice
                                                                4   Letters “should be sent to all parties where there is sufficient evidence to make a
                                                                5   preliminary determination of potential liability under §107 of CERCLA.” 53
                                                                6   Fed.Reg. 5298, 5301 (Feb. 23, 1988) (emphasis added). EPA sends out a Special
                                                                7   Notice Letter when it is ready to negotiate with PRPs to clean up a site. 3
                                                                8            Significantly, EPA has not identified the Moving Defendants as PRPs for
                                                                9   their respective properties at issue (the “Properties”) and has not issued any General
                                                               10   Notice Letters or Special Notice Letters to any of the Moving Defendants for their
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                                                               11   properties.
                                                               12            Moving Defendants now seek summary judgment or partial summary
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                                                               13   judgment that they have no liability under CERCLA 4 for the OU-2 groundwater
                                                               14   contamination for the same reason EPA so concluded: there is no evidence that
                                                               15   Moving Defendants are responsible under CERCLA for any hazardous substances
                                                               16   impacting the OU-2 groundwater plume. 5
                                                               17
                                                               18
                                                               19   2
                                                                      https://www.epa.gov/enforcement/superfund-notice-liability-letters
                                                                    3
                                                               20     Id.
                                                                    4
                                                                      This phase of the litigation concerns only certain elements of CERCLA liability,
                                                               21
                                                                    as explained in the May 2017 Parties Joint Status Conference Report. See Dkt. 615
                                                               22   at 1:10-2:4. However, if successful, Moving Defendants’ motions would wholly
                                                                    dispose of CERCLA claims against them by establishing that Plaintiffs lack
                                                               23
                                                                    sufficient evidence of one or more elements of CERCLA liability.
                                                               24   5
                                                                      Moving Defendant Union Pacific Railroad Company (“Union Pacific”) advances
                                                                    arguments slightly different than those of the other Moving Defendants, as detailed
                                                               25
                                                                    in greater detail Union Pacific’s Memorandum of Points and Authorities. Union
                                                               26   Pacific’s principal argument is that Plaintiffs cannot establish Union Pacific is a
                                                                    CERCLA liable party because the only plausible source of OU-2 groundwater
                                                               27
                                                                    contamination was a clarifier installed on the Chrysler Property after Union Pacific
                                                               28   sold the Chrysler Property.
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   II.      MOVING DEFENDANTS’ COMMON LEGAL STANDARDS
                                                                2            A.        SUMMARY JUDGMENT STANDARD
                                                                3            A party against whom relief is sought may move for summary judgment on
                                                                4   all or part of the claim. FED. R. CIV. P. 56(a). The moving party is entitled to
                                                                5   summary judgment if the pleadings, discovery and any affidavits show that “there
                                                                6   is no genuine dispute as to any material fact and the movant is entitled to judgment
                                                                7   as a matter of law.” Id.; Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986); see
                                                                8   also Miranda v. City of Cornelius, 429 F.3d 858, 860 n.1 (9th Cir. 2005). As to
                                                                9   materiality, “[o]nly disputes over facts that might affect the outcome of the suit
                                                               10   under the governing law will properly preclude the entry of summary judgment.”
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                                                               11   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute as to a
                                                               12   material fact is “genuine” if there is sufficient evidence for a reasonable jury to
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                                                               13   return a verdict for the nonmoving party. Id.
                                                               14            The moving party can meet its initial burden by pointing out the absence of
                                                               15   evidence from the non-moving party. The moving party need not disprove the
                                                               16   other party’s case. Celotex, 477 U.S. at 325. Thus, “[s]ummary judgment for a
                                                               17   defendant is appropriate when the plaintiff ‘fails to make a showing sufficient to
                                                               18   establish the existence of an element essential to [its] case, and on which [it] will
                                                               19   bear the burden of proof at trial.’” Cleveland v. Policy Mgmt. Sys. Corp., 526 U.S.
                                                               20   795, 805-06 (1999) (citing Celotex, 477 U.S. at 322). The moving party can also
                                                               21   produce “evidence negating an essential element of the nonmoving party’s claim.”
                                                               22   Nissan Fire & Marine Ins. Co., Ltd. v. Fritz Cos., Inc., 210 F.3d 1099, 1102 (9th
                                                               23   Cir. 2000).
                                                               24                      If the party moving for summary judgment meets its
                                                                                       initial burden of identifying for the court the portions of
                                                               25                      the materials on file that it believes demonstrate the
                                                               26                      absence of any genuine issue of material fact, the
                                                                                       nonmoving party may not rely on the mere allegations in
                                                               27
                                                                                       the pleadings in order to preclude summary judgment [but
                                                               28                      instead] must set forth, by affidavit or as otherwise
                                                                                                                             MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1                      provided in Rule 56, specific facts showing that there is a
                                                                2                      genuine issue for trial.

                                                                3   T. W. Elec. Serv., Inv., v. Pac. Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th Cir.
                                                                4   1987) (internal citations and quotation marks omitted) (citing, among other cases,
                                                                5   Celotex, 477 U.S. at 323).
                                                                6            “A non-movant’s bald assertions or a mere scintilla of evidence in his favor
                                                                7   are both insufficient to withstand summary judgment.” See FTC v. Stefanchik, 559
                                                                8   F.3d 924, 929 (9th Cir 2009). In addition, the evidence presented by both parties
                                                                9   must be admissible. See Fed. R. Civ. P. 56(e). Conclusory, speculative testimony in
                                                               10   affidavits and moving papers is insufficient to raise genuine issues of fact and
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                                                               11   defeat summary judgment. See Thornhill’s Publ’g Co., Inc. v. GTE Corp., 594
                                                               12   F.2d 730, 738 (9th Cir. 1979). In judging evidence at the summary judgment stage,
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                                                               13   courts do not make credibility determinations or weigh conflicting evidence and
                                                               14   must view all evidence and draw all inferences in the light most favorable to the
                                                               15   nonmoving party. See T. W. Elec., 809 F.2d at 630-31 (citing Matsushita Elec.
                                                               16   Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574 (1986)); see also Motley v.
                                                               17   Parks, 432 F.3d 1072, 1075, n.1 (9th Cir. 005) (en banc) (overruled on other
                                                               18   grounds by U.S. v. King, 687 F. 3d 1189 (2012).
                                                               19            Summary judgment should be granted in favor of the Moving Defendants on
                                                               20   Plaintiffs’ CERCLA claims in the Fifth Amended Complaint because the Plaintiffs
                                                               21   cannot establish that Moving Defendants are CERCLA potentially responsible
                                                               22   parties and/or that releases of hazardous substances from Moving Defendants’
                                                               23   Properties impacted OU-2, for which Plaintiffs allege they have incurred response
                                                               24   costs.
                                                               25
                                                               26
                                                               27
                                                               28
                                                                                                                              MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1            B.        CERCLA STANDARD
                                                                2                      1.   Plaintiffs Acknowledge that their CERCLA Claims Are
                                                                3                           Dependent on Proving Moving Defendants’ Responsibility
                                                                4                           for Impacts to Groundwater in OU-2
                                                                5            Plaintiffs have alleged claims against the Moving Defendants for
                                                                6   contribution under CERCLA § 113(f)(1) and declaratory relief under CERCLA §
                                                                7   113(g)(2) on the basis of impacts to groundwater in OU-2. Plaintiffs allege that the
                                                                8   operations of each of the Moving Defendants resulted in hazardous substances
                                                                9   “being placed onto the ground or into the soil at or near” the Properties. (FAC, ¶
                                                               10   354) and that “the hazardous substances present in the soil at [the Properties] have
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                                                               11   migrated and continue to migrate downward into the saturated zone beneath the
                                                               12   property and have come to be located in the groundwater.” (FAC, ¶ 355). On that
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                                                               13   basis, Plaintiffs seek recovery of costs “to address the contamination contributed to
                                                               14   the OU-2 Facility by Defendants.” (FAC, ¶¶ 404).
                                                               15            Thus, Plaintiffs acknowledge that merely showing that there were releases of
                                                               16   hazardous substances into the soil on the Properties does not establish liability,
                                                               17   because the Plaintiffs have not incurred (and will not incur) response costs cleaning
                                                               18   up the Properties’ soil. Instead, Plaintiffs must prove their allegation that
                                                               19   “hazardous substances present in the soil” at the Properties during the Moving
                                                               20   Defendants’ ownership or operation of the Properties “have migrated and continue
                                                               21   to migrate downward” into the OU-2 groundwater.
                                                               22                      2.   Plaintiffs Must Prove that Each Moving Defendant is a
                                                               23                           CERCLA “Covered Person” Responsible for Contaminant
                                                               24                           Impacts to Groundwater in OU-2
                                                               25            To establish a prima facie case for liability under CERCLA, Plaintiffs must
                                                               26   prove that each Moving Defendant is a “covered person” (i.e., liable under
                                                               27   CERCLA) within the meaning of CERCLA Section 107(a)(1) or (2), 42 U.S.C. §
                                                               28   9607(a)(1) or (2). Thus, a Moving Defendant is only liable if it owns or operates,
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   or owned or operated at the time of disposal of hazardous substances, a facility
                                                                2   “from which there is a release, or a threatened release which causes the incurrence
                                                                3   of response costs, of a hazardous substance.” 42 U.S.C. § 9607(a)(4)(emphasis
                                                                4   added). 6 Because Plaintiffs are seeking the recovery of response costs associated
                                                                5   with the contamination of the groundwater in OU-2, Plaintiffs must prove there was
                                                                6   a release of hazardous substances from the Moving Defendants’ Properties that
                                                                7   ended up in the OU-2 groundwater for which the Moving Defendant is responsible
                                                                8   as either a (1) current owner or operator of the property or (2) owner or operator of
                                                                9   the property at the time of the disposal of the hazardous substance which impacted
                                                               10   the OU-2 groundwater plume. CERCLA Section 107(a)(1), (2), 42 U.S.C. §
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                                                               11   9607(a)(1), (2). 7
                                                               12            Here, Plaintiffs cannot prove an essential element of their CERCLA
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                                                               13   contribution claim—that there was a release of a hazardous substance onto the
                                                               14   Moving Defendants’ Properties that then traveled into OU-2 groundwater for which
                                                               15   the Moving Defendant is responsible, thereby causing Plaintiffs to incur response
                                                               16   costs. 42 U.S.C. §9607(a)(4). City of Colton v. American Promotional Events,
                                                               17   Inc.-West, 614 F.3d 998, 1002-03 (9th Cir. 2010); Carson Harbor Village, Ltd., v.
                                                               18   Unocal Corp., 270 F.3d 863, 870-71 (9th Cir. 2001) (en banc); Carson Harbor
                                                               19   Village, Ltd. v. Unocal Corp., 287 F. Supp. 2d 1118, 1186 (C.D. Cal. 2003)
                                                               20   (CERCLA “requires that plaintiff establish a causal link between the release for
                                                               21   which defendant is responsible, and the response costs incurred by plaintiff.”)
                                                               22
                                                               23   6
                                                                      See, e.g., Dedham Water Co. v. Cumberland Farms Dairy, 972 F.2d 453 (1st Cir.
                                                               24   1992); Acushnet Co. v. Coaters, Inc., 937 F. Supp. 988, 994 (D. Mass. 1996).
                                                                    7
                                                                      However, if the hazardous substance which made its way to OU-2 was contained
                                                               25
                                                                    in a petroleum product, it would be excluded from the CERCLA definition of
                                                               26   “hazardous substance” and would not be a basis for imposing CERCLA liability on
                                                                    any of the Defendants. CERCLA Section 101(14), 42 U.S.C. § 9601(14)(the term
                                                               27
                                                                    “hazardous substance” does not include “petroleum, including crude oil or any
                                                               28   fraction thereof”).
                                                                                                                        MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                                                                                 MSJS, AND PS&AS ISO MSJS
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                                                                1                      3.   In Two-Site CERCLA Cases Plaintiffs Must Prove a
                                                                2                           Hazardous Substance Release from the Moving Defendant’s
                                                                3                           Property Made its Way Into the OU-2 Groundwater Plume
                                                                4            A CERCLA “two-site” case, such as this one, is a case in which the plaintiff
                                                                5   “contends not that the defendant directly dumped or otherwise disposed of its
                                                                6   wastes at the site but rather that hazardous materials migrated there from the
                                                                7   defendant's facility or from a different dumpsite elsewhere.” Solutia, Inc. v.
                                                                8   McWane, Inc., No. 1:03-cv-1345-PWG, 2012 WL 2031350, at *8 (N.D. Ala. June
                                                                9   1, 2012). In such two-site cases, “it may be ‘much less obvious how [a defendant]
                                                               10   could be responsible for contamination of the [site where the plaintiff has incurred
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                                                               11   response costs.]’” Id. Thus, in two-site cases, Courts require plaintiffs to prove
                                                               12   that a release for which the defendant is responsible at one site (here, the soil on
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                                                               13   each Moving Party’s Property) caused the contamination of the second site (here,
                                                               14   the OU-2 groundwater). Kalamazoo River Study Group v. Rockwell Int’l Corp.,
                                                               15   171 F.3d 1065 (6th Cir. 1999); Innis Arden Golf Club v. Pitney Bowes, Inc., 629 F.
                                                               16   Supp. 2d 175, 185-86 (D. Conn. 2009); Thomas v. FAG Bearings, 846 F. Supp.
                                                               17   1382, 1386-87 (W.D. Mo. 1994). As held by the Sixth Circuit, the mere possibility
                                                               18   that the contamination from the defendant’s site caused contamination on the
                                                               19   plaintiff’s site is insufficient to create a material fact as to causation. Kalamazoo
                                                               20   River Study Group, 171 F.3d at 1072-73, affirming, Kalamazoo River Study Group
                                                               21   v. Rockwell Int’l, 3 F. Supp. 2d 815 (W.D. Mich. 1997).
                                                               22            In Kalamazoo River, the plaintiff alleged that water flowing across the
                                                               23   defendant’s property became contaminated with PCBs in soil and then traveled
                                                               24   through a drainage ditch before ultimately discharging into a lake where the
                                                               25   plaintiff had incurred response costs. Kalamazoo River, 171 F.3d at 1067. The
                                                               26   defendant did not deny the presence of PCBs at its property, and sampling of the
                                                               27   drainage ditch revealed PCB contamination extending at least 1,500 feet from the
                                                               28   defendant’s property in the direction of the lake. Id. at 1068-69. The district court
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   granted defendant’s motion for summary judgment because the plaintiff could point
                                                                2   to no evidence establishing that “water did in fact flow down the ditch in sufficient
                                                                3   quantity to carry PCBs from the northern part of the ditch to [the lake].” Kalamazoo
                                                                4   River, 3 F. Supp. 2d at 822.
                                                                5            The Sixth Circuit affirmed, holding:
                                                                6
                                                                                       In a ‘two-site’ case such as this, where hazardous substances
                                                                7                      are released at one site and allegedly travel to a second site, in
                                                                                       order to make out a prima facie case, the plaintiff must establish
                                                                8                      a causal connection between the defendant's release of
                                                                                       hazardous substances and the plaintiff's response costs incurred
                                                                9                      in cleaning them up.

                                                               10   Kalamazoo River, 171 F.3d at 1068 (citations omitted).
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                                                               11            The Sixth Circuit also affirmed the district court’s conclusion that the
                                                               12   plaintiff’s proof that it was possible that PCBs could have moved from the drainage
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                                                               13   ditch to the lake was insufficient to create a material fact as to causation:
                                                               14                      [The plaintiff] has created, at most, a question of fact as to
                                                                                       whether or not there was a possibility that water flowed all the
                                                               15                      way down the ditch to Morrow Lake… KSG’s entire theory of
                                                                                       liability on behalf of [the defendant] is based upon the
                                                               16                      assumption that water flowed down the ditch to Morrow Lake.
                                                                                       This assumption, however, is based solely on speculation and
                                                               17                      possibility. The existence of a possibility does not create a
                                                                                       material issue of fact for trial because [the plaintiff] bears the
                                                               18                      burden of proof to show that [the plaintiff] did contribute to
                                                                                       PCBs in the Kalamazoo River, not that it is possible that it
                                                               19                      might have contributed to the PCBs.
                                                               20   Id. at 1072 (emphasis added).
                                                               21            The same result based on similar analysis in a two-site case was reached in
                                                               22   Innis Arden Golf Club v. Pitney Bowes, Inc. and Solutia, Inv. v. McWane, Inc.,
                                                               23   supra.
                                                               24            In Innis Arden Golf Club, the Court granted defendants’ motion for summary
                                                               25   judgment because plaintiff failed to establish causation, acknowledging that
                                                               26   “[o]ther courts confronted with an issue of causation as framed in this manner
                                                               27   similarly recognize that a plaintiff must provide some evidence linking its response
                                                               28   costs to the targeted off-site release of contaminants.” Innis Arden Golf Club, 629
                                                                                                                               MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   F. Supp. 2 at 185-187 (citations omitted). In Solutia, Inc., the court held that
                                                                2                      it is not sufficient in alleged migration cases merely to show
                                                                                       that the defendant’s wastes contain materials similar to those
                                                                3                      found at the site; otherwise a defendant might be liable under
                                                                                       CERCLA to pay for the cleanup of any dumpsite in the country
                                                                4                      that happened to contain a substance similar to that in the
                                                                                       defendant's wastes. Rather, the plaintiff has the burden to
                                                                5                      present evidence that will ‘provide the necessary causal link
                                                                                       between [the defendant's] activities and the contamination
                                                                6                      which is the subject of [the] suit.’ In cases of actual
                                                                                       contamination, there must be sufficient evidence from which a
                                                                7                      jury might reasonably find that it is “more probable than not”
                                                                                       that the defendant's wastes did migrate to the site where the
                                                                8                      plaintiff incurred response costs, not merely that there was
                                                                                       some “possibility” that they reached the site.
                                                                9
                                                                    Solutia, Inc., 2012 WL 2031350 at *8 (citations omitted).
                                                               10
                                                                             The Ninth Circuit has not yet ruled on the standard of proof to be applied in
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                                                               11
                                                                    two-site CERCLA cases,8 but no matter what standard is applied, CERCLA itself
                                                               12
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                                                                    “always” requires the Plaintiffs to prove that a hazardous substance release from the
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                                                               13
                                                                    Moving Defendant’s facility for which the Moving Defendant is responsible made
                                                               14
                                                                    its way into the OU-2 groundwater plume, such that it “causes the incurrence of
                                                               15
                                                                    response costs” by Plaintiffs. 42 U.S.C. § 9607(a)(1)-(4); Asarco, LLC v. Cemex,
                                                               16
                                                                    Inc., 21 F.Supp.3d 784, 807 (W.D. Texas 2014). Plaintiffs cannot do so.9
                                                               17
                                                               18
                                                                    8
                                                                      In the absence of Ninth Circuit guidance, district courts have grappled with the
                                                               19
                                                                    “difficult” issue of causation in “two-site” CERCLA cases, with one judge crafting
                                                               20   the standard that a plaintiff must show “a plausible migration pathway by which the
                                                                    contaminant could have traveled from the defendant’s facility to the plaintiff’s
                                                               21
                                                                    site.” Castaic Lake Water Agency v. Whittaker Corp., 272 F.Supp.2d 1053, 1066
                                                               22   (C.D. Cal. 2003). Another District Court which applied the Castaic “plausible
                                                                    migration pathway” standard noted that a “possible” migration pathway” is not a
                                                               23
                                                                    “plausible migration pathway.” Asarco, LLC v. Cemex, Inc., 21 F.Supp.3d 784,
                                                               24   807 (W.D. Texas 2014)(emphasis added).
                                                                    9
                                                                      As indicated earlier, Union Pacific’s principal case for summary judgment as to
                                                               25
                                                                    the Chrysler Property is slightly different from the other Moving Defendants.
                                                               26   Union Pacific maintains that Plaintiffs cannot establish Union Pacific is a CERCLA
                                                                    liable party because the only plausible source of OU-2 groundwater contamination
                                                               27
                                                                    from the Chrysler Property was a clarifier which was installed after Union Pacific
                                                               28   sold the Chrysler Property.
                                                                                                                            MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1         PMC PROPERTY DEFENDANTS’ MEMORANDUM OF POINTS
                                                                2                  AND AUTHORITIES IN SUPPORT OF MOTION FOR
                                                                3                    SUMMARY JUDGMENT RE: CERCLA LIABILITY
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                                                                                                             MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   I.       PMC SUMMARY OF THE ARGUMENT
                                                                2            No chemicals used by PMC at the PMC Site have migrated to the Omega
                                                                3   OU-2 Plume. No chemicals that migrated on to the PMC Site from sources
                                                                4   upgradient of the PMC Site have migrated to the Omega OU- 2 Plume. Multiple
                                                                5   lines of scientific evidence support this finding. Benzene and Naphthalene, the two
                                                                6   chemicals used by PMC attenuate to non-detect concentrations a short distance
                                                                7   downgradient from the PMC Site and therefore have not reached the Omega OU-2
                                                                8   Plume. The non-detects for benzene in monitoring wells demonstrate that PMC is
                                                                9   not the source of the trace amounts of benzene in the Omega OU-2 Plume.
                                                               10            Volatile Organic Compounds, TCE, PCE and 1,1 DCE that migrated onto the
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                                                               11   PMC Site from a source or sources located upgradient of the PMC Site have
                                                               12   decreased to non-detect at monitoring wells MW-22 and MW-23 located between
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                                                               13   350 and 425 feet downgradient of the PMC Site. A distance over 1500 feet short of
                                                               14   the outer edge of the Omega OU-2 Plume.
                                                               15            The downgradient extent of the PMC Plume has been defined and it is well
                                                               16   short of the outer edge of the Omega OU-2 Plume. PMC continues to work with
                                                               17   the California Department of Toxic Substances Control to remediate and monitor
                                                               18   the PMC Site under an approved Remedial Action Plan.
                                                               19            Moreover, a 32 story high (350 feet) 2500 foot plus wide Anticline (Dome
                                                               20   like structure), mapped by the U.S. Geological Survey in 2014 and the California
                                                               21   State Division of Mines 1943, sits between the PMC Site and the Omega OU-2
                                                               22   Plume. The Anticline deflects groundwater flow on either side of it such that
                                                               23   groundwater in the OU-2 Plume located west of the Anticline and groundwater on
                                                               24   the east (PMC side) flow parallel to each other making it impossible for
                                                               25   groundwater from the PMC Site to intersect or commingle with the Omega OU-2
                                                               26   Plume.
                                                               27            In addition, sediments that lie between the PMC Site and the outer most edge
                                                               28   of the Omega OU-2 Plume are comprised of low permeability shales that inhibit

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                                                                1   groundwater flow. The low permeability sediments and the Anticline create natural
                                                                2   barriers to groundwater flow from the PMC Site to the Omega OU-2 Plume.
                                                                3            EPA did not identify the PMC Site as a property which may have contributed
                                                                4   any contaminants to the OU-2 plume; EPA has not issued a General Notice Letter
                                                                5   to PMC nor has EPA issued a Special Notice Letter to PMC. The decision not to
                                                                6   issue ‘Notice Letters” to PMC is an important factor in support of PMC’s position
                                                                7   that no chemicals from its Site have comingled or will comingle with the Omega
                                                                8   OU-2 Plume. It is longstanding EPA policy that General Notice Letters “should be
                                                                9   sent to all parties where there is sufficient evidence to make a preliminary
                                                               10   determination of potential liability under §107 of CERCLA.” 53 Fed. Reg. 5298,
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                                                               11   5301 (Feb., 23 1988) (emphasis added). The fact that EPA, after numerous studies,
                                                               12   decided not to issue a Notice Letter to PMC underscores the lack of evidence in
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                                                               13   support of Plaintiffs’ CERCLA claims against PMC.
                                                               14            It is equally important to note that when EPA determined it had “sufficient
                                                               15   evidence” to issue “Notice Letters” it did so in this case. EPA’s decision not issue a
                                                               16   General Notice Letter or a Special Notice Letter to PMC demonstrates agreement
                                                               17   by EPA that no chemicals from the PMC Site have reached or threaten to reach the
                                                               18   OU-2 Plume.
                                                               19            Yet another line of evidence in support of PMC’s position is the final
                                                               20   Remedial Investigation Report prepared by EPA’s environmental Consultant
                                                               21   (CH2M Hill), which identified many properties that likely contributed hazardous
                                                               22   substances to the OU-2 Plume, but like EPA it did not identify the PMC Site as an
                                                               23   on-going or historical source of hazardous substances to the OU-2 Plume.
                                                               24            EPA and CH2MHill did however identify the former Omega Chemical
                                                               25   Facility as the “main source of contamination at OU-2”. Hazardous substances
                                                               26   found in the OU-2 Plume were sent to the Omega Chemical Facility (aka OU-1) by
                                                               27   Plaintiffs, thus making them the source of contamination that is the basis of their
                                                               28   lawsuit.
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1            In discovery responses, Plaintiffs do not even state that contaminants from
                                                                2   the PMC Site have traveled or migrated to the Omega OU-2 Plume. Furthermore,
                                                                3   despite having years to update their discovery responses with facts, as required,
                                                                4   Plaintiffs did not and could not, because there are none. Plaintiffs are bound by and
                                                                5   limited to their factually unsupported statement that such contamination “may
                                                                6   have” intersected the Omega OU-2 Plume. No expert declaration can change this
                                                                7   and now be used to create a disputed material fact. “May have” intersected is not
                                                                8   sufficient for Plaintiffs to meet their burden of proof under Castaic Lake Water
                                                                9   Agency v. Whittaker Corp., 272 F.Supp.2d 1053, 1066 (C.D. Cal. 2003) or
                                                               10   Kalamazoo River Study Group v. Rockwell Int’l Corp., 171 F.3d 1065 (6th Cir.
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                                                               11   1999).
                                                               12         PMC seeks summary judgment because it has no liability under CERCLA for
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                                                               13   the OU-2 Plume contamination for the same reason EPA and its contractor so
                                                               14   concluded: there is no evidence indicating that a hazardous substance from the
                                                               15   PMC Site has made its way into or commingled with the OU-2 Plume.
                                                               16   II.      PMC STATEMENT OF FACTS
                                                               17            A.   PMC SITE HISTORY
                                                               18            The PMC Site is located on 9.1 acres comprised of 10 parcels with separate
                                                               19   Assessor Parcel Numbers and located at 10051 Romandel Avenue, Santa Fe
                                                               20   Springs, California. Declaration of Richard Vogl in Support of PMC’s Motion for
                                                               21   Summary Judgment, (“Vogl Decl.”) ¶ 12a. The PMC Site was operated as a
                                                               22   chemical manufacturing plant operated by others beginning in approximately 1938
                                                               23   until 1986 when PMC operations began. Id. ¶ 12b. Operations at the PMC Site
                                                               24   were discontinued in 1992. Id. PMC manufactured phenolic compounds, and
                                                               25   cresylic and naphthenic acids and included the use of naphthenic, cresylic, and
                                                               26   sulfonic acids, and benzene. Id.
                                                               27            The PMC Site has been subject to California Department of Health Services
                                                               28   (DHS) oversight since 1988 and California Department of Toxic Substances

                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   Control (DTSC) oversight since approximately 2006, resulting in PMC undertaking
                                                                2   and completing multiple site assessment actions. Id. ¶ 12c. Site characterization is
                                                                3   complete and preparation for remediation is ongoing including the submittal and
                                                                4   approval by DTSC of a Remedial Action Plan in 2020. Id. A Remedial Design
                                                                5   Implementation Plan (RDIP) was submitted in late 2020, including a response to
                                                                6   DTSC comments, and is anticipated to be approved by DTSC in early 2021, with
                                                                7   additional remedial activity implementation beginning as soon as approval is
                                                                8   obtained. Id. PMC’s decommissioning activities began in April 1993. Id. The site
                                                                9   operational equipment, all storage tanks, including 171 above-ground storage tanks
                                                               10   and conveyance piping and structures were demolished and/or removed by
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                                                               11   November 1993. Id. ¶ 12e, 21-23. Following the demolition, the PMC Site was
                                                               12   capped with asphalt and rolled base material and engineering controls were placed
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                                                               13   in certain areas to prevent rainwater from causing chemicals to leach in the soil and
                                                               14   groundwater. Id.
                                                               15            B.        RELEVANT ALLEGATIONS IN PLAINTIFFS’ 5TH
                                                               16                   AMENDED COMPLAINT AND RESPONSES TO DISCOVERY
                                                               17            In the 5th Amended Complaint (“5AC”) Plaintiffs rely heavily on the U.S.
                                                               18   Environmental Protection Agency’s (“EPA”) evaluation and identification of
                                                               19   several defendants as potentially responsible parties with respect to the Omega OU-
                                                               20   2 Plume. Plaintiffs’ allegations assert or at a minimum are intended to strongly
                                                               21   imply that a defendant who received either Special Notice Letter or General Notice
                                                               22   Letter from EPA is a liable party. PMC did not receive any letter from EPA.
                                                               23   Declaration of Earl Hagstrom in Support of PMC’s Motion for Summary Judgment
                                                               24   re: CERCLA Liability (“Hagstrom Decl.”), Ex. B, 5AC ¶ 4, 5, 68-84 (“5AC”). As
                                                               25   such Plaintiffs’ assertion on its face only serves to support PMC’s position that it is
                                                               26   not a liable party.
                                                               27            Despite an exhaustive investigation of the Omega Chemical Site (OU-1) and
                                                               28   the Omega OU-2 Plume, EPA never identified Ferro Corporation or PMC
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   Specialties Group, Inc. (collectively, “PMC”) as a responsible party, or even a
                                                                2   potentially responsible party with respect to the Omega OU-2 Plume. PMC is
                                                                3   identified as “Non-Notice Letter Defendant PRPs,” in Plaintiffs operative 5AC.
                                                                4   Plaintiffs’ claims in the 5AC rest almost exclusively on allegations made on
                                                                5   “information and belief” that releases of contamination occurred from or adjacent to
                                                                6   the PMC Site. 5AC ¶ 97-98, 367, 372.
                                                                7            Plaintiffs allege that certain disposals occurred at the PMC Site during the
                                                                8   time it was owned or operated by PMC. 5AC ¶ 375-378. Notably, Plaintiffs
                                                                9   identify the chemicals allegedly released or disposed of at the PMC Site, between
                                                               10   1987-1992, as benzene, cresol, MEK, phenol, propylene, styrene, and sulfuric acid.
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                                                               11   5AC ¶ 373. Again, relying only on information and belief, Plaintiffs conclude
                                                               12   without any basis that contaminants have migrated into the soil and the
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                                                               13   groundwater, and have migrated offsite to support its claim that PMC is a source of
                                                               14   contamination [in the Omega OU-2 Plume] by way of another downgradient
                                                               15   property. 5AC ¶¶ 379-386. While Plaintiffs allege that the VOCs TCE, PCE, and
                                                               16   1, 1-DCE were also detected in soils at the PMC Property, they only allege that
                                                               17   Benzene and toluene migrated to the Oil Field Reclamation Project (“OFRP”) Site,
                                                               18   which sits in between the PMC Site and the Omega OU-2 Plume to the west and
                                                               19   downgradient of the PMC Site. 5AC ¶¶ 383, 386.
                                                               20            In written discovery responses, Plaintiffs repeat these allegations as to
                                                               21   chemicals detected at the PMC Site, but simply take for granted, without evidence
                                                               22   that contaminants migrated from the PMC Site to the Omega OU-2 Plume. In their
                                                               23   discovery responses, Plaintiffs’ do not even state that contaminants from the PMC
                                                               24   Site have traveled or migrated to the Omega OU-2 Plume. Plaintiffs solely rely
                                                               25   upon a factually unsupported statement that such contamination “may have”
                                                               26   intersected the Omega OU-2 Plume. While these vague and factually unsupported
                                                               27   allegations may get Plaintiffs by a Motion to Dismiss, they cannot and do not
                                                               28   withstand the scrutiny required to withstand a Motion for Summary Judgement.
                                                                                                                           MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   Plaintiffs have only vaguely alleged that “groundwater contamination from the
                                                                2   [PMC Site] may intersect OU-2 given that the groundwater flow direction from
                                                                3   that property has been determined to be to the southwest.” Hagstrom Decl., Ex. C,
                                                                4   Ferro Corp.’s Interrogatories to Plaintiffs, No. 3-4, Ex. D Plaintiffs’ Supplemental
                                                                5   Resp. to Ferro Corp.’s Interrogatories to Plaintiffs, No. 3-4; Ex. E, PMC
                                                                6   Interrogatories to Plaintiffs, No. 3, Ex. F, PMC Supp. Resp. to PMC’s
                                                                7   Interrogatories to Plaintiffs, No. 3. That contaminated groundwater from PMC
                                                                8   “may intersect OU-2” does not establish a causal connection or plausible pathway
                                                                9   between contamination in OU-2 and the PMC Site.
                                                               10            Plaintiffs’ have not and cannot meet their burden of proof under either
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                                                               11   Castaic Lake or Kalamazoo. Plaintiffs must present facts, not conjecture.
                                                               12            While Plaintiffs’ vaguely allege that “each of the source properties is located
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                                                               13   above or adjacent to the OU-2 Facility,” its allegations against PMC regarding the
                                                               14   OFRP Site demonstrate that unlike all of the other source properties alleged by
                                                               15   Plaintiffs, the PMC Site is not actually above or adjacent to the Omega OU-2
                                                               16   Plume. 5AC ¶ 119, See 5AC, Ex. B. On Ex. B to the 5AC Plaintiffs erroneously
                                                               17   depict the PMC Site as being significantly closer to the Omega OU-2 Plume than it
                                                               18   actually is when the property lines as surveyed are shown. As shown, the property
                                                               19   boundaries as surveyed by a licensed surveyor the PMC Site sits more than 3000
                                                               20   feet to the west. Declaration of Richard Vogl in Support of PMC’s Motion for
                                                               21   Summary Judgment (“Vogl Decl.”), ¶ 17. Ex. G and H.
                                                               22            Plaintiffs have not offered any evidence or factual basis for its allegation that
                                                               23   the PMC chemicals may have intersected, mixed with and/or commingled with the
                                                               24   Omega OU-2 Plume, because it has failed to establish or even affirmatively allege
                                                               25   the existence of any plausible migration pathway or a causal connection between
                                                               26   the PMC Site to the Omega OU-2 Plume its claims lack merit and PMC’s Motion
                                                               27   for Summary Judgement must be granted. The available data demonstrates that no
                                                               28   mixing, commingling, or intersection of the PMC Plume and the Omega OU-2
                                                                                                                            MOVING DEFENDANTS’ JOINT NOTICES,
                                                                    88151-00029/3942474.1                        17
                                                                                                                                     MSJS, AND PS&AS ISO MSJS
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                                                                1   Plume has occurred. Vogl Decl. ¶¶ 10 -23.
                                                                2   III.     SUMMARY OF APPLICABLE LAW
                                                                3            A.        LEGAL STANDARDS FOR MOTIONS FOR SUMMARY
                                                                4                      JUDGEMENT
                                                                5            The relevant legal standard for Summary Judgement has been set forth in the
                                                                6   Moving Defendants’ Common Statement.
                                                                7            B.    LEGAL STANDARDS IN TWO SITE CERCLA CASES
                                                                8            To establish their prima facie case here Plaintiffs must prove there is a
                                                                9   plausible pathway or causal connection between hazardous substances released at
                                                               10   the PMC and those same or substantially similar hazardous substances in the
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                                                               11   Omega OU-2 Plume. Plaintiffs cannot. Under the available facts Plaintiffs cannot
                                                               12   meet their burden and demonstrate that any release which occurred at the PMC
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                                                               13   Property has intersected, mixed with, or commingled with the Omega OU-2 Plume
                                                               14   under either the Castaic Lake, Kalamazoo, and the cases cited in section II of
                                                               15   Moving Defendants’ Common Legal Standards.
                                                               16             In “two-site” CERCLA cases the mere allegation that similar chemicals may
                                                               17   exist at two different sites a thousand or more feet apart is not enough to meet that
                                                               18   burden. Plaintiffs must prove that a causal link or plausible pathway exists between
                                                               19   the PMC Site and the Omega OU-2 Plume, and they have not.
                                                               20            Summary judgment in PMC’s favor is warranted and should be granted
                                                               21   because the facts establish that the contamination in the Omega OU-2 Plume did
                                                               22   not come from the PMC Site. Vogl Decl., ¶¶ 10-23.
                                                               23   IV.      ARGUMENT
                                                               24            A.        DISTINCT MARKER CHEMICALS PRESENT IN THE TWO
                                                               25                      PLUMES DEMONSTRATE THE PMC PLUME HAS NOT
                                                               26                      INTERSECTED, MIXED WITH, OR COMMINGLED WITH
                                                               27                      THE OMEGA OU-2 PLUME
                                                               28            The chemical fingerprints of the Omega OU-2 Plume and the PMC Plume do
                                                                                                                           MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                                                                                    MSJS, AND PS&AS ISO MSJS
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                                                                1   not match. The distinct chemical and physical characteristics of each plume
                                                                2   demonstrate the PMC Plume has not reached, commingled or intersected the
                                                                3   Omega OU-2 Plume. Vogl Decl., ¶ 10e-f; 14. Each plume has Marker Chemicals.
                                                                4   1
                                                                        Marker Chemicals for the Omega OU-2 Plume are the VOCs, trichloroethylene
                                                                5   (“TCE”), perchloroethylene (“PCE”), and 1, 1 dichloroethene (“1, 1-DCE”)
                                                                6   (collectively “Omega OU-2 Marker Chemicals”), chemicals that were not used at
                                                                7   the PMC Site. Id. ¶¶ 10e, 11c, 19a(viii). The Marker Chemicals for the PMC
                                                                8   Plume are naphthalene and benzene. Id. ¶ 10f, 12g; See Also, Ex. F2.
                                                                9        A review of the historical available data from OMEGA OU-1, the source
                                                               10   area for groundwater contaminants in the Omega OU-2 Plume, show the presence
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                                                               11   of the Omega OU-2 Marker Chemicals, which are consistently detected at the same
                                                               12   magnitude in both OU-1 and OU-2. Id., ¶ 20f, Ex. P; Q1; Q2, See Also, Ex. F2 and
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                                                               13   Hagstrom Decl., ¶ 3, Ex. A, Final RI/FS Reports, Omega Chemical Corporation
                                                               14   Superfund Site, OU-2, Los Angeles County, California, Volume 1, CH2M HILL,
                                                               15   Aug. 2010, § 8.1.2, p. 8-4. By contrast, the PMC Plume is characterized by
                                                               16   detections of benzene and naphthalene and an outer edge or maximum
                                                               17   downgradient reach defined by test results from groundwater samples that are non-
                                                               18   detect for these chemicals in monitoring wells located within a few hundred feet
                                                               19   downgradient of the PMC Site.
                                                               20            The same maximum downgradient reach or outer edge of TCE, PCE and 1,1
                                                               21   DCE, which migrated onto the PMC Site from upgradient sources, is also defined
                                                               22   by non-detect test results in monitoring wells located less than 450 feet from the
                                                               23   PMC Site. Vogl Decl., ¶ 19a(viii), 20e, Ex. I2.
                                                               24                  1.   Benzene in Omega OU-2 Plume is not from the PMC Site
                                                               25            The benzene and naphthalene plume originating from the PMC Site
                                                               26   attenuates to non-detect concentrations within 800 feet downgradient from the PMC
                                                               27   Site and therefore do not commingle with the any of the three potential
                                                               28   1
                                                                        Those chemicals most frequently detected at the highest concentrations.
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   downgradient sources or the Omega OU-2 Plume. Vogl Decl., ¶ 20a-e, Ex. Q-1.
                                                                2   The trace amount of benzene in the Omega OU-2 Mid-plume and benzene in these
                                                                3   three downgradient areas are likely from gasoline or light end hydrocarbon releases
                                                                4   on the numerous properties with underground storage tanks and/or Leaky
                                                                5   Underground Storage Tank (“LUST”), and other chemical releases. Id., ¶ 20d-g,
                                                                6   Ex. Q-1. These three releases at locations have been documented and are
                                                                7   downgradient from the PMC Site; the three locations, include a pipeline release of
                                                                8   gasoline that McClaren/Hart Described in the OFRP Groundwater Study; a release
                                                                9   at a former drum recycler, the Beaumon Trust Property, which washed out
                                                               10   thousands of drums collected from industrial sites and illegally dumped over 60
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                                                               11   volatile, semi-volatile, and metals-containing chemical compounds on a single town
                                                               12   lot; as well as a LUST site at the Yellow Freight Property. Vogl Decl., ¶ 20d-e, Ex.
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                                                               13   Q-1. In addition to these releases, there are approximately 25 properties with
                                                               14   former or current underground storage tanks located within the Omega OU-2 Plume
                                                               15   and in the region downgradient from the PMC Site. Vogl Decl., ¶ 20d-e, Ex. Q-1.
                                                               16   The existence of these sources with known releases, further downgradient from the
                                                               17   downgradient monitoring wells from the PMC Site showing non-detects for
                                                               18   benzene, demonstrate that PMC is not the source of the trace amounts of benzene in
                                                               19   the Omega OU-2 Plume.
                                                               20                2.     TCE, PCE and 1,1 DCE Were not Used at the PMC Site
                                                               21            PMC did not use TCE, PCE, or 1,1 DCE in its operations. Id. ¶ 10e,
                                                               22   19a(viii), Ex. E.
                                                               23                      3.   Solvents that Migrated onto the PMC Site from Upgradient
                                                               24                      Sources Have Not Migrated to the OU-2 Plume
                                                               25            TCE, PCE and 1,1 DCE have migrated onto the PMC Site from a source or
                                                               26   sources located upgradient of the PMC Site. Vogl Decl. ¶ 19a(viii), Ex. I1, I2, J, R.
                                                               27   Monitoring wells MW 21, MW 22, and MW 23 are located approximately 350 to
                                                               28   450 feet downgradient and off of the PMC Site. Id. MW-21 is the most upgradient
                                                                                                                        MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   of these three wells. Id. While MW-21, the most upgradient of these monitoring
                                                                2   wells shows low concentrations of TCE, PCE and 1,1 DCE, the concentration
                                                                3   levels decrease to non-detect at further downgradient wells M-22 and M-23. Id.
                                                                4   The decreasing concentration levels of these chemicals from MW-21 to MW-22
                                                                5   and MW-23, the latter two of which are non-detect demonstrate these three
                                                                6   chemicals have not migrated more than 450 off of the PMC Site. A distance far
                                                                7   short of the outer edge of the Omega OU-2 Plume, which is over 2000 feet from the
                                                                8   PMC Site. Id. ¶¶ 19a(viii), 20e, Ex C.
                                                                9            B.        GROUNDWATER FROM THE PMC SITE HAS NOT AND
                                                               10                      CANNOT INTERSECT THE OMEGA OU-2 PLUME
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                                                               11                      1.   Groundwater from the PMC Site and Omega OU-2 Plume
                                                               12                        Flows Parallel to Each Other Cannot Intersect/Commingle
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                                                               13            On information and belief, Plaintiffs vaguely allege that contaminants in the
                                                               14   soil and in groundwater have migrated “in the same general direction as the
                                                               15   regional groundwater flow.” 5AC ¶ 367. While Plaintiffs do not specify what
                                                               16   direction that might be in the 5AC in its responses to discovery, they generally
                                                               17   allege the groundwater direction near the PMC Site is to the southwest. Hagstrom
                                                               18   Decl., ¶¶5-8, Ex. C, Ferro Corp.’s Interrog. to Plaintiffs, No. 3-4, Ex. D, Plaintiffs’
                                                               19   Supp. Resp. to Ferro Corp.’s Interrog. to Plaintiffs, No. 3-4; Ex. E, PMC Interrog.
                                                               20   to Plaintiffs, No. 3, Ex. F, PMC Supp. Resp. to PMC’s Interrog. to Plaintiffs, No. 3.
                                                               21   Groundwater flow immediately adjacent to the PMC does trend in a southwest
                                                               22   direction as it leaves the PMC Site. Vogl Decl. ¶ 19a(vi).
                                                               23            However, the direction of groundwater flow from the PMC Site is deflected
                                                               24   to the south - southeast when it runs into the Santa Fe Springs Anticline
                                                               25   (“Anticline”), causing it to run parallel to the Omega OU-2 Plume. Vogl Decl. ¶
                                                               26   10a, 12f. The Anticline is a 32-story high (350 feet) 2000 plus foot wide dome that
                                                               27   lies between the PMC Site and the Omega OU-2 Plume. Id. The Anticline
                                                               28   physically separates the Omega OU-2 Plume on its Western flank from
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   groundwater on its Eastern flank. Id. ¶ 12f, Exs. C, K, L, M, N. The Anticline
                                                                2   causes the both the flow of the Omega OU-2 Plume and groundwater that may have
                                                                3   originated at the PMC Site to bend and flow in a southerly direction maintaining
                                                                4   their parallel paths. Id.
                                                                5            Groundwater flow direction on and near the PMC Site has been monitored
                                                                6   since at least 1999. Id. ¶ 12f. Additional sampling has occurred since the early
                                                                7   1990s from other groundwater monitoring wells, downgradient to cross-gradient
                                                                8   from the PMC Site, including the OFRP. Id. As depicted in the figure below, the
                                                                9   Anticline caused the groundwater flow direction at the approximate center of the
                                                               10   Omega OU-2 Plume, which is roughly at the crest of the Anticline, to turn to the
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                                                               11   south. Id. ¶ 19a (i)-(v). The Anticline separates both plumes, and causes
                                                               12   groundwater flow direction to remain parallel. Id. ¶ 19a (i)-(v), Ex. C. The Omega
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                                                               13   OU-2 Plume migrates to and is influenced by the west side of the Anticline, while
                                                               14   the groundwater from the PMC Site migrates on the east side of the Anticline. Id. ¶
                                                               15   19a (v). A 2014 United States Geological Survey report recognizes this change in
                                                               16   direction, noting that “The Trend of the OU2 plume….turns to the south at about
                                                               17   the location of the Santa Fe Springs Anticline.” Id. ¶ 19a (i)-(iv), Ex. N-M.
                                                               18                  2.    Low Permeability Sediments Also Prevent Commingling
                                                               19            Additionally, the East Side of the Anticline, where the PMC Site sits, is
                                                               20   characterized by soil types with low hydraulic conductivity, or permeability, in
                                                               21   hydrogeology terms, hydraulic conductivity is characterized as a set of “K-values,”
                                                               22   which estimate the rate of migration in feet per day. Vogl Decl. ¶ 19a(vi), Ex. O.
                                                               23   The higher the K-value, the higher level of hydraulic conductivity, and the faster
                                                               24   groundwater will move through the sediment. Id. As depicted in the figure below,
                                                               25   the K-values immediately southwest of the PMC Site are extremely low, meaning
                                                               26   the soils on the east flank of the Anticline, which lies between the PMC Site and the
                                                               27   Omega OU-2 Plume, are relatively impermeable. Id. ¶ 19a(vi), Ex O. The low
                                                               28   permeability of the east flank of the Anticline inhibits groundwater flow and the
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   Anticline itself then causes the plume to “deflect” or change direction from
                                                                2   generally southwest to south.
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                                                               10            Vogl. Decl., Ex. O.
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                                                               11            C.        TEST DATA AT THE PMC SITE CONFIRMS
                                                               12
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                                                                                       CONTAMINATION FROM PMC HAS NOT AND WILL NOT
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                                                               13                      INTERSECT OR COMMINGLE WITH THE OMEGA OU-2
                                                               14                      PLUME
                                                               15            Groundwater monitoring data at and adjacent to the PMC Site demonstrates
                                                               16   PMC Plume has migrated too short a distance offsite to possibly intersect, mix
                                                               17   with, or commingle with the Omega OU-2 Plume. Vogl Decl., ¶ 10b. The PMC
                                                               18   Plume did not and does not have a large enough chemical mass to have migrated far
                                                               19   enough off site to commingle with or intersect the Omega OU-2 Plume. Id., ¶ 19.
                                                               20   Additionally, PMC has removed the source of contamination cutting off the source
                                                               21   of contaminates for the PMC Plume. Id., ¶ 21. PMC Site operations ceased in the
                                                               22   early 1990s, and demolition activities were completed by November, 1993. Id., ¶
                                                               23   21. Additional actions, including capping the property with asphalt, were taken to
                                                               24   prevent rainwater infiltration into subsurface soils, minimizing or eliminating the
                                                               25   leaching of chemicals to groundwater. Id. ¶ 21, Ex. S.
                                                               26         PMC is conducting further remediation leading to the ultimate closure of the
                                                               27   PMC Site, and has been proceeding under the supervision of the DTSC since it
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                                                                                                                        MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   entered into a 2006 Voluntary Cleanup Agreement. Id., ¶ 22, Ex. F2. Extensive
                                                                2   site investigation has been performed to evaluate the PMC Site, including the
                                                                3   collection of over 800 samples for analysis of soil, soil gas, and groundwater, all in
                                                                4   compliance with DTSC approved work plans. Id., ¶ 22, Ex. F2.
                                                                5            The data collected pursuant to its DTSC monitored remediation demonstrates
                                                                6   the PMC Plume could not have intersected or commingled with the Omega OU-2
                                                                7   Plume. The monitoring data shows that the PMC Plume is stable or shrinking in
                                                                8   size, and stable or decreasing in concentration due to source removal and natural
                                                                9   attenuation. Id., ¶ 21, Ex. F2. This data, including data from groundwater
                                                               10   monitoring wells on Bloomfield Avenue north of Telegraph Road showing non-
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                                                               11   detects provide additional support that the groundwater plume associated with the
                                                               12   PMC Site is defined, and does not approach or threaten to impact the Omega OU-2
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                                                               13   Plume. Id., ¶¶ 12a-f; 23. These wells lie approximately 750-800 feet from the
                                                               14   PMC Site. The edge of the Omega OU-2 Plume lies an additional 1000 to 1800 feet
                                                               15   from these wells. Id. ¶ 23, Ex. C
                                                               16            The relatively low K-values in the areas immediately surrounding the PMC
                                                               17   Site retard the migration of contaminants limiting the distance the contaminants can
                                                               18   travel in soil or groundwater. As depicted on Ex. O above, the K values in the area
                                                               19   immediately adjacent to the PMC Site are low, on the order of 2, 3 or 5 feet per day.
                                                               20   Id. ¶¶ 19(v)-(vi). By contrast, the K values on the west side of the Anticline, in the
                                                               21   flow path of the Omega OU-2 Plume, are magnitudes of order higher, ranging from
                                                               22   40 to 60 feet per day. Id. The relatively low K values surrounding the PMC Site
                                                               23   substantially limit the distance that contaminants can travel so as to render any
                                                               24   intersection of the plumes improbable.
                                                               25            The non-detect test results for PMC Marker Chemicals as well as TCE, PCE
                                                               26   and 1,1 DCE, the Omega OU-2 Marker Chemicals, in downgradient monitoring
                                                               27   wells located a short distance from the PMC Site confirm that the outer or
                                                               28   maximum edge of the PMC Plume is more than 2000 feet distant from the outer
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   edge of the Omega OU-2 Plume. Id. ¶ 20e, Ex. C.
                                                                2            D.        PLAINTIFFS’ 5AC MISREPRESENTS THE BOUNDARIES OF
                                                                3                      THE PMC SITE AND THE OUTER EDGE OF THE OMEGA
                                                                4                   OU-2 PLUME
                                                                5            Plaintiffs inaccurately map the PMC Site on Ex. B of the 5AC in an effort to
                                                                6   misconstrue both the boundaries of the PMC Site and the areas of the Site that were
                                                                7   used for chemical processes or storage. The true property boundaries as surveyed
                                                                8   and the areas actually used for processing and storage are shown on Ex. G below
                                                                9   and on Exs. H and I. Vogl Decl., Ex. G, H, I. In Ex. G the yellow boundary
                                                               10   illustrates the property line drawn by Plaintiffs which incorrectly enlarges the PMC
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                                                               11   Site by including properties that are not and have never been owned or operated by
                                                               12   PMC. Id. ¶ 15a-b. Further, the actual operational boundaries, depicted by the red
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                                                               13   border lines are the only areas of the PMC on which chemicals were used or stored.
                                                               14   Id. While simple physical proximity can be a factor the more significant factor with
                                                               15   regard to commingling of groundwater is the Omega OU-2 Plume’s upgradient
                                                               16   location, opposite the direction of the groundwater flow direction and the direction
                                                               17   the PMC Plume is traveling. Id. ¶ 15a-b. An additional error on 5AC-Ex. B depicts
                                                               18   the PMC Site as larger than it is. The areas identified in pink shade on Ex. G show
                                                               19   areas that were historically used for parking or were vacant. Id. ¶ 15a-b. Vogl
                                                               20
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                                                                    Decl., Ex. G.
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                                                                1                  1.   Inaccurate Depiction of the Omega OU-2 Plume
                                                                2            The boundaries of the Omega OU-2 Plume as represented by Plaintiffs
                                                                3   incorrectly show the east side of the Omega OU-2 Plume in close proximity to the
                                                                4   PMC Site. Vogl Decl. ¶ 16a-b. As depicted in Ex. B to Plaintiffs’ 5AC, the eastern
                                                                5   edge of Omega OU-2 Plume boundary appears to be drawn using a mapping
                                                                6   method that widens and lengthens the extent of the plume area to its maximum
                                                                7   possible extent, closely bordering wells where no chemicals are found. Id. ¶ 16a-b,
                                                                8   Ex. C. This mapping method greatly overestimates the extent of the Omega OU-2
                                                                9   Plume. A more accurate method would have been to interpolate the boundary
                                                               10   based on the two outermost data points (wells with detected concentrations and
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                                                               11   wells with “Non-Detect” concentrations), draw the boundary halfway between the
                                                               12   two data points, or draw the boundary just beyond the well with and actual detected
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                                                               13   concentration. Id. ¶ 16b. The dashed Omega OU-2 Plume boundary drawn by
                                                               14   CH2MHill indicates that this boundary as drawn was inferred or estimated. Id. ¶
                                                               15   16b. A more accurate depiction of the plume, is shown in the figure below. The
                                                               16   red dashed line represents the plume boundary, based on actual detections of
                                                               17   contaminants in well locations shown. Id., Ex. C. In between the Actual Boundary,
                                                               18   and the boundary hypothesized by Plaintiffs, there is a large area where no data
                                                               19   exists. When taking into account the actual groundwater monitoring data, the
                                                               20   boundary of the Omega OU-2 Plume is approximately 2000 feet way from the
                                                               21   PMC Site, roughly 20 times further than depicted on Plaintiffs’ 5AC Ex. B.
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                                                               11            Vogl. Decl., Ex. C.
                                                               12
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                                                                             E.        PLAINTIFF HAS NOT AND CANNOT ESTABLISH THE
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                                                               13
                                                                                       EXISTENCE OF A PLAUSIBLE PATHWAY OR CAUSAL
                                                               14
                                                                                       CONNECTION BETWEEN THE PMC SITE AND THE
                                                               15
                                                                                       OMEGA OU-2 PLUME
                                                               16
                                                                             Plaintiffs rely almost exclusively on unsupported allegations that
                                                               17
                                                                    contaminants the PMC Site “may intersect” the OU-2 Plume to support their claim
                                                               18
                                                                    that contamination from the PMC Site has migrated 1000s of feet through low
                                                               19
                                                                    permeability sediments and up and over a 350 foot high 2000 foot wide Anticline to
                                                               20
                                                                    commingle with the Omega OU-2 Plume. Hagstrom Decl., ¶¶ 5-8, Ex. C, Ferro
                                                               21
                                                                    Corp.’s Interrog. to Plaintiffs, No. 3-4, Ex. D, Plaintiffs’ Supp. Resp. to Ferro
                                                               22
                                                                    Corp.’s Interrog. to Plaintiffs, No. 3-4; Ex. E, PMC Interrog.to Plaintiffs, No. 3, Ex.
                                                               23
                                                                    F, PMC Supp. Resp. to PMC’s Interrog. to Plaintiffs, No. 3. Plaintiffs make these
                                                               24
                                                                    allegations despite data demonstrating contaminant concentrations in the PMC
                                                               25
                                                                    Plume become non-detect within a few hundred feet of the PMC Site, 1000s of feet
                                                               26
                                                                    short of the edge of the Omega OU-2 Plume; EPA’s decision not to send PMC
                                                               27
                                                                    Notice Letters, the location of the PMC Site more than 2000 feet from the Omega
                                                               28
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   OU-2 Plume and the geologic barriers between PMC and the OU-2 Plume.
                                                                2                      1.   The PMC Plume has Migrated Too Short a Distance from
                                                                3                           the PMC Site to Encounter the Omega OU-2 Plume
                                                                4            Contaminants in the PMC Plume have simply not migrated far enough off the
                                                                5   PMC Site to intersect the Omega OU-2 Plume. The past and ongoing removal and
                                                                6   remedial work performed at the source areas of the PMC further serve to limit the
                                                                7   distance the PMC Plume would have or could have traveled. Vogl Decl. ¶ 12b.
                                                                8   PMC Site operations ceased in the early 1990s and demolition activities were
                                                                9   completed by November 1993. Id. ¶ 21, Ex. S. Additional engineering controls
                                                               10   were implemented to prevent rainwater from infiltrating subsurface soil,
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                                                               11   minimizing or eliminating the leaching of chemicals in soil to groundwater. Id. It
                                                               12   continues to implement further remedial measures under the supervision of DTSC.
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                                                               13            The PMC Plume does not have a large enough chemical mass to have
                                                               14   migrated a sufficient distance to intersect the Omega OU-2 Plume. Id. ¶ 19(viii),
                                                               15   Ex. J. Groundwater monitoring data from wells instead on the PMC Site, and
                                                               16   downgradient demonstrate that the PMC Plume, has migrated less than 1000 feet to
                                                               17   the southwest, well short of the Omega OU-2 Plume. Id. Additionally, although
                                                               18   solvents from upgradient sites have migrated to the PMC Site, the decreasing
                                                               19   concentrations, which ultimately reach non-detect at the monitoring wells less than
                                                               20   450 feet off of the PMC Site in a downgradient direction show that TCE, PCE and
                                                               21   1,1 DCE have not migrated far enough off of the PMC Site to intersect or
                                                               22   commingle with the Omega Ou-2 Plume which is several thousand feet from those
                                                               23   wells. Id. and Ex. I.
                                                               24                      2.   Distinct Chemical Fingerprints of the OU-2 and PMC
                                                               25                       Plumes Demonstrate No Mixing of the Plumes as Occurred
                                                               26            The chemical fingerprints of the Omega OU-2 Plume and the PMC Plume
                                                               27   show completely different compositions. While the Omega OU-2 Plume primarily
                                                               28   consists of the solvents, PCE, TCE and 1,1 DCE, these chemicals were not used at

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                                                                1   the PMC Site, and did not migrate more than 450 feet off of the PMC Site. Vogl.
                                                                2   Decl. ¶ 20a-f, Ex. I, Q-1 and Q-2. By contrast, the PMC Plume is primarily
                                                                3   characterized by benzene and naphthalene. Id. ¶ 20g, Ex. Q-1, Q-2. The
                                                                4   completely different chemical makeup of the two plumes demonstrates mixing or
                                                                5   commingling has not occurred. Id.
                                                                6                      3.   Parallel Groundwater Flows and Low Permeability
                                                                7                       Sediments Prevent Commingling
                                                                8            Groundwater from the PMC Site has not and will not intersect, mix with, or
                                                                9   commingle with the Omega OU-2 Plume because the groundwater flow direction
                                                               10   become parallel to each other before the groundwater from the PMC Site comes
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                                                               11   near the maximum outer edge of the Omega OU-2 Plume. Vogl Decl. ¶¶ 10a, 12f,
                                                               12   19(i)-(v), Ex. C, M, N. Shortly after groundwater travels off-the PMC Site, it is
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                                                               13   deflected by the Anticline to a south, south easterly direction, at which point it
                                                               14   continues to run parallel to the Omega OU-2 Plume. Id. Just as the groundwater
                                                               15   direction from the PMC Site is influenced by the Anticline, the Omega OU-2
                                                               16   Plume, which is on the western side of the Anticline opposite the PMC is similarly
                                                               17   influenced. Id. ¶ 19(iv). As reported by the United States Geological Survey in
                                                               18   2014 the “trend of the OU-2 plume is inferred to parallel the shallow groundwater
                                                               19   gradient, which trends southwest from the former Omega Facility, turns to the south
                                                               20   at about the location of the [Anticline] crest, and then trends to the southeast…” Id.
                                                               21   The presence of this Anticline alters groundwater flow direction on both its east and
                                                               22   west side and causes the groundwater of the east side to flow parallel to the Omega
                                                               23   OU-2 Plume rather than cross-gradient in the direction of the Omega OU-2 Plume.
                                                               24            Additionally, the very low conductivity and transmissibility of the sediments
                                                               25   found between the PMC Site and the Omega OU-2 Plume inhibit the flow and
                                                               26   direction of groundwater from the PMC Site, preventing the two plumes from
                                                               27   intersecting, mixing or commingling. The composition of the sediment at the edge
                                                               28   of the PMC Site and on the eastern flank of the Anticline prevents the flow of
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   groundwater from the PMC Site from traveling towards the Omega OU-2 Plume,
                                                                2   and from mixing with the Omega OU-2 Plume on the other side of the Anticline.
                                                                3   Vogl Decl. ¶ 19(vi), Ex. O. The low transmissibility of the sediment at the
                                                                4   boundary of the PMC Site also serves to substantially retard the migration of the
                                                                5   PMC Plume off site. Id. The areas immediately southwest and south of the PMC
                                                                6   Site have K-values of just 2 and 3 feet per day, moving towards areas with K-values
                                                                7   of 5 and 7.5 per day. Id. By contrast, on the other side of the Anticline, the K-
                                                                8   values are 40 and 60 feet per day. Id. The low conductivity not only influences the
                                                                9   direction of the groundwater flow, but also substantially retards its migration.
                                                               10   V.       PMC CONCLUSION
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                                                               11            PMC has demonstrated through multiple lines of scientific evidence that
                                                               12   there is no causal connection or plausible migration pathway from the PMC Site to
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                                                               13   the Omega OU-2 Plume, a conclusion supported by EPA and its consultant
                                                               14   CH2MHill.
                                                               15
                                                               16    DATED: January 14, 2021                BASSI EDLIN HUIE & BLUM LLP
                                                               17
                                                               18                                     By:         /s/ Earl L. Hagström
                                                               19                                           Earl L. Hagström
                                                                                                            Daniel E. Trowbridge
                                                               20
                                                                                                            Attorneys for Defendants PMC Specialties
                                                               21                                           Group, Inc. and Ferro Corporation
                                                               22
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                                                                1              CHRYSLER PROPERTY DEFENDANT UNION PACIFIC’S
                                                                2                    MEMORANDUM OF POINTS AND AUTHORITIES
                                                                3      IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                4                            RE: CERCLA LIABILITY
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                                                                1   I.       INTRODUCTION
                                                                2            In this action, Plaintiffs attempt to hold Union Pacific Railroad Company
                                                                3   (“Union Pacific”) responsible for the release of hazardous substances that occurred
                                                                4   in connection with Chrysler’s operations after Union Pacific1 sold the property
                                                                5   leased by Chrysler (the “Chrysler Property”) 2 in January 1974. Plaintiffs seek
                                                                6   contribution (First Cause of Action) and declaratory relief (Third Cause of Action)
                                                                7   under the Comprehensive Environmental Response Compensation and Liability Act
                                                                8   (“CERCLA”) against Union Pacific on the alleged basis that Plaintiffs have and
                                                                9   will incur costs to address groundwater contamination originating from the Chrysler
                                                               10   Property. See, e.g., Plaintiffs’ Fifth Amended Complaint (“FAC”) ¶¶ 9, 138 (Dkt.
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                                                               11   526). Partial summary judgment should be granted in favor of Union Pacific
                                                               12   because Plaintiffs have not – and cannot – demonstrate that the Chrysler Property
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                                                               13   was a source of contamination impacting groundwater when Union Pacific owned
                                                               14   or operated on the property. In other words, Union Pacific is not one of the
                                                               15   categories subject to the liability provisions of CERCLA section 107(a) (also
                                                               16   known as a “potentially responsible party” or “PRP”) with respect to the Chrysler
                                                               17   Property.
                                                               18            To prevail on their CERCLA claims, Plaintiffs concede they must establish a
                                                               19   release of hazardous substances from a defendant’s site impacted the regional
                                                               20
                                                               21
                                                               22
                                                               23
                                                                    1
                                                                      Unless otherwise noted, Union Pacific and its predecessors shall be collectively
                                                               24   referred to as “Union Pacific.”
                                                               25   2
                                                                      As used herein, “Chrysler Property” is defined as the real property located at
                                                                    12020-12310 Slauson Avenue in Santa Fe Springs, California 90670 (designated by
                                                               26   the Los Angeles County Assessor’s office as Assessor Identification Numbers
                                                                    [“AINs”] 8168-002-402, 8168-002-412 and 8168-002-417); 12012-12128 Burke
                                                               27   Street in Santa Fe Springs, California 90670 (designated by AINs 8168-002-403 to
                                                                    405, 8168-002-407, 8168-002-418, and 8168-002-419); and 12103 Burke Street in
                                                               28   Santa Fe Springs, California 90670 (designated by AINs 8168-002-803 to 804).
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   groundwater in OU-2. 3 (Dkt. 615, n. 2). 4 Thus, a mere release to the
                                                                2   “environment” or soils is insufficient to confer CERCLA liability upon a defendant
                                                                3   if such release did not impact groundwater in OU-2. Therefore, Union Pacific
                                                                4   cannot be liable for any CERCLA response costs absent a release of hazardous
                                                                5   substances during Union Pacific’s ownership of or operation on the Chrysler
                                                                6   Property which impacted OU-2. See CERCLA, 42 U.S.C. § 9607(a)(1), (2).
                                                                7   Plaintiffs cannot make such a showing. Indeed, Plaintiffs cannot even establish that
                                                                8   a release of hazardous substances to the environment occurred prior to 1974.
                                                                9            A.        UNION PACIFIC DID NOT OWN THE CHRYSLER
                                                               10                      PROPERTY AT THE TIME OF DISPOSAL OF ANY
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                                                               11                      HAZARDOUS SUBSTANCES
                                                               12            The contemporaneous site investigations found, and the Los Angeles
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                                                               13   Regional Water Quality Control Board (“Regional Water Board” or “RWQCB”) –
                                                               14   the state regulatory agency with oversight responsibility of investigative activities
                                                               15   at the Chrysler Property and other regional facilities – agreed, that the only known
                                                               16   source of potential groundwater contamination originating from the Chrysler
                                                               17   Property was a 750-gallon clarifier (the “Chrysler Clarifier”) used in connection
                                                               18   with Chrysler’s Body Works building. SUF. No. 111. The Chrysler Clarifier was
                                                               19   not installed until 1983 at the earliest. Union Pacific sold the Chrysler Property in
                                                               20   January 1974, almost a full decade before Chrysler installed the Chrysler Clarifier.
                                                               21   See SUF No. 113. There is no other evidence of any disposal of hazardous
                                                               22   substances at the Chrysler Property which potentially impacted OU-2
                                                               23
                                                                    3
                                                                     As used herein, Operable Unit 2 (or “OU-2”) refers to the contamination in
                                                               24   groundwater generally downgradient and originating from the former Omega
                                                                    Chemical Corporation facility in Whittier, California, which has commingled with
                                                               25   other sources, and includes those portions of the groundwater plume underlying the
                                                                    Chrysler Property.
                                                               26
                                                                    4
                                                                      In the May 25, 2017, Parties’ Joint Status Conference Report, Plaintiffs asserted
                                                               27   that “whether hazardous substance releases from Defendants’ respective source
                                                                    properties have contaminated regional groundwater in impacted OU2…should be
                                                               28   litigated during the current phase.” (Dkt. 615, n. 2).
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                                                                                  MSJS, AND PS&AS ISO MSJS
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                                                                1   groundwater. Nor is there any evidence of any disposal of hazardous substances to
                                                                2   OU-2 groundwater when Union Pacific owned the Chrysler Property. Indeed, there
                                                                3   is no evidence of any release of hazardous substances to the environment from the
                                                                4   Chrysler Property prior to 1974.
                                                                5            B.        UNION PACIFIC DID NOT OPERATE THE CHRYSLER
                                                                6                      PROPERTY AT THE TIME OF DISPOSAL OF ANY
                                                                7                      HAZARDOUS SUBSTANCES
                                                                8            Furthermore, there is no evidence that Union Pacific ever operated on the
                                                                9   actual Chrysler Property, other than on a right-of-way that went through a portion
                                                               10   of the property. SUF No. 107. However, based on historical maps and aerial
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                                                               11   photographs, the right-of-way was removed by the early 1960s prior to the
                                                               12   construction of buildings on the site. SUF No. 108. There is no evidence that any
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                                                               13   hazardous substances were disposed of in connection with the operation of the
                                                               14   right-of-way.
                                                               15            C.        PALMTREE ACQUISITION CORPORATION, AS
                                                               16                      SUCCESSOR IN INTEREST TO CATELLUS DEVELOPMENT
                                                               17                      CORPORATION, HAS ACKNOWLEDGED LIABILITY FOR
                                                               18                      THE DISPOSAL OF HAZARDOUS SUBSTANCES AT THE
                                                               19                      CHRYSLER PROPERTY
                                                               20            In contrast to Union Pacific, which has never been identified by the United
                                                               21   States Environmental Protection Agency (“EPA”) or any State regulatory agency as
                                                               22   a PRP at the Chrysler Property, defendant Palmtree Acquisition Corporation
                                                               23   (“Palmtree”) has acknowledged its liability under CERCLA for releases of
                                                               24   hazardous substances at the Chrysler Property. In response to EPA’s General
                                                               25   Notice Letter and Request for Information for the Omega Chemical Superfund Site
                                                               26   dated May 15, 2009, Palmtree – in its capacity as successor in interest to Catellus
                                                               27   Development Corporation (“Catellus”), acknowledged that the source of
                                                               28   contamination on the Chrysler Property was the Chrysler Clarifier which Chrysler,
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                                                                                  MSJS, AND PS&AS ISO MSJS
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                                                                1   “a former Catellus tenant,” operated on the Chrysler Property. Banks Decl., Exh.
                                                                2   33, p. 213 [Palmtree EPA Response]. Moreover, Palmtree has stipulated to certain
                                                                3   facts regarding liability under CERCLA Section 113 for this phase. See Plaintiffs’
                                                                4   and Defendant Palmtree Acquisition Corporation’s Stipulation of Undisputed Facts
                                                                5   Re Liability Under CERCLA Section 113, 42 U.S.C. § 9613 (Dkt. 678) (“Palmtree
                                                                6   Liability Stipulation”). In the Palmtree Liability Stipulation, Palmtree admitted that
                                                                7   sometime during its predecessor’s ownership of the Chrysler Property “in
                                                                8   connection with operations conducted at the Chrysler Property,” there was a
                                                                9   disposal of hazardous substances. Id. ¶ 8. Thus, notwithstanding Union Pacific’s
                                                               10   lack of liability at the Chrysler Property, at least one viable PRP will retain
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                                                               11   responsibility for any share of liability ultimately assigned to this facility.
                                                               12            In sum, because Plaintiffs have not and cannot show that Union Pacific
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                                                               13   owned or operated on the Chrysler Property when there was release of hazardous
                                                               14   substances, let alone a release impacting the regional groundwater in OU-2,
                                                               15   Plaintiffs’ CERCLA claims fail as a matter of law and partial summary judgment
                                                               16   should be granted in Union Pacific’s favor.
                                                               17   II.      STATEMENT OF FACTS
                                                               18            A.        THE CHRYSLER PROPERTY LOCATION
                                                               19            The Chrysler Property was formerly known as 12140 Slauson Avenue, Santa
                                                               20   Fe Springs, California. FAC ¶ 138. The original Chrysler Property was subdivided
                                                               21   into four properties identified as the LaSalle Property, North Central Property,
                                                               22   Multitenant Property, and the Central Property. FAC ¶ 138, Declaration of Sedina
                                                               23   L. Banks (“Banks Decl.,”), Exh. 16 [Map]. For site closure purposes, the Regional
                                                               24   Water Board treated each of these four parcels separately. The Central Property,
                                                               25   also referred to by the EPA as “Site A,” is located at approximately 12128 Burke
                                                               26   Street, Santa Fe Springs, CA. Banks Decl., Exh. 34, p. 219, [Remedial
                                                               27   Investigation/Feasibility Study (“RI/FS”)]. Even though the FAC includes all four
                                                               28   properties in the definition of the Chrysler Property (FAC ¶ 138), EPA has only
                                                                                                                           MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                                                                                    MSJS, AND PS&AS ISO MSJS
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                                                                1   identified the Central Property (Site A) as a potential source of groundwater
                                                                2   contamination. Banks Decl., Exh. 34, pp. 217-18 [RI/FS].
                                                                3            B.        UNION PACIFIC’S OWNERSHIP OF THE CHRYSLER
                                                                4                      PROPERTY
                                                                5            Union Pacific acquired the various parcels that comprise the approximately
                                                                6   40-acre Chrysler Property through a series of transactions from 1888 through 1967.
                                                                7   SUF No. 100. On January 21, 1974, Union Pacific’s predecessor, Southern Pacific
                                                                8   Transportation Company, transferred the entire Chrysler Property to Southern
                                                                9   Pacific Company (formerly known as S.P. Inc.) (“New Southern Pacific
                                                               10   Company”). SUF No. 101. New Southern Pacific Company is not a predecessor of
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                                                               11   Union Pacific. SUF No. 102. Therefore, Union Pacific did not own the Chrysler
                                                               12   Property after January 21, 1974.
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                                                               13            C.        CHRYSLER’S OPERATIONS ON THE CHRYSLER
                                                               14                      PROPERTY
                                                               15            Chrysler conducted auto preparation operations on the Chrysler Property
                                                               16   from in or around 1965 through 1988. SUF. No. 106. The majority of Chrysler’s
                                                               17   operations were conducted on the Central Property. Banks Decl., Exh. 21, p. 167
                                                               18   [Final Converse Report]. Chrysler’s operations on the site included “body work,
                                                               19   mechanical work, tune-up, front-end alignment, emissions control testing, painting,
                                                               20   washing, detailing, and road performance tests.” Banks Decl., Exh. 32, p. 209
                                                               21   [Closure Letter]. Based on aerial photographs, Chrysler’s operations expanded in
                                                               22   the 1980s with the construction of new infrastructure on the Chrysler Property.
                                                               23   Compare Banks Decl., Exhs. 14 and 15 [Aerial Photos].
                                                               24            There is no evidence that Union Pacific ever operated on the actual Chrysler
                                                               25   Property, other than on a right-of-way that went through a portion of the property.
                                                               26   SUF No. 107. The right-of-way was removed sometime between 1962 and 1964
                                                               27   before any buildings were constructed on the Chrysler Property. SUF No. 108.
                                                               28
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                                                                                  MSJS, AND PS&AS ISO MSJS
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                                                                1            D.        DISCOVERY OF CONTAMINATION ON THE CHRYSLER
                                                                2                      PROPERTY AFTER TERMINATION OF CHRYSLER’S
                                                                3                      TENANCY
                                                                4                      1.   The Source of Contamination on the Chrysler Property is a
                                                                5                           750-gallon Clarifier Operated by Chrysler in Connection
                                                                6                           with Chrysler’s Body Works Building
                                                                7            In 1988, Chrysler terminated its leasehold of the Chrysler Property and
                                                                8   demolished all buildings and removed all structures, including clarifiers. SUF No.
                                                                9   109. Chrysler contracted with Colorado Pacific Inc. to remove the tanks and
                                                               10   clarifiers in 1988. Banks Decl., Exh. 17, p. 140 [Tank Removal Report].
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                                                               11   Petroleum Industry Consultants provided geologic oversight to monitor the tank
                                                               12   removal, excavation and draft a tank removal report. Id. The tank removal report,
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                                                               13   dated March 31, 1988, depicts the locations and sizes of the removed clarifiers (the
                                                               14   “Tank Removal Report”). Id.
                                                               15            After the demolition of all of the buildings, Catellus – the then-owner of the
                                                               16   Chrysler Property – contracted with Converse Environmental West (“Converse”) to
                                                               17   conduct an environmental investigation of the Chrysler Property prior to
                                                               18   redevelopment. Banks Decl., Exh. 19, p. 155 [Catellus Letter]. Preliminary site
                                                               19   investigations uncovered soil contamination beneath the area of the Chrysler
                                                               20   Clarifier – a former 750-gallon clarifier “used by Chrysler in conjunction with
                                                               21   Chrysler’s auto body repair shop” referred to as the “Body Works Building.”
                                                               22   Banks Decl., Exhs. 18, p. 147 and 21, p. 161 [Converse Reports]. Upon the
                                                               23   discovery of the visibly stained soil, “[i]n 1990, Converse Consultants excavated
                                                               24   approximately 1,000 cubic yards of impacted soil from the former location of CL-
                                                               25   2” (the Chrysler Clarifier). Banks Decl., Exhs. 32, p. 209 [Closure Letter] and 21,
                                                               26   pp. 169-70 [Converse Report].
                                                               27            In a report dated December 28, 1990, Converse presented Catellus with the
                                                               28   preliminary results of its soil and groundwater investigation (the “Preliminary
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                                                                                   MSJS, AND PS&AS ISO MSJS
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                                                                1   Converse Report”). Banks Decl., Exh. 18 [Preliminary Converse Report]. The
                                                                2   Preliminary Converse Report confirmed that the Chrysler Clarifier was a source of
                                                                3   volatile organic compound (“VOC”) contamination. Id.
                                                                4            Based on the results from the Preliminary Converse Report, in January of
                                                                5   1991, Catellus notified the Regional Water Board and other regulatory agencies of
                                                                6   the discovery of “stained soils directly beneath and extending outward from the site
                                                                7   of a former underground concrete ‘clarifier’ installed and operated by Chrysler.”
                                                                8   Banks Decl., Exhs. 19, p. 155 and 20, p. 158 [Catellus Letters]. Catellus included
                                                                9   with its notice letter a copy of the Preliminary Converse Report. See, e.g., Banks
                                                               10   Decl., Exh. 20, p. 158 [Catellus Letter].
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                                                               11            Converse continued “to investigate the source(s) and extent of soil and
                                                               12   ground water contamination identified beneath and in the vicinity of the 750 gallon
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                                                               13   clarifier, previously used by Chrysler at their Body Works Building.” Banks Decl.,
                                                               14   Exh. 21, p. 161 [Final Converse Report]. Converse’s findings are discussed in its
                                                               15   Final Report – Soil and Ground Water Investigation dated August 29, 1991 (the
                                                               16   “Final Converse Report”). Id. The Final Converse Report concluded that there was
                                                               17   contamination “in the soil beneath and extending outward from the location of the
                                                               18   removed [Chrysler] clarifier.” Id., p. 171.
                                                               19            In the early to mid-1990’s, Catellus engaged Dames & Moore to conduct an
                                                               20   additional site investigation of the Central Property to obtain site closure. Banks
                                                               21   Decl., Exh. 24 [Phase II]. In 1996, Dames & Moore prepared a Phase II
                                                               22   Investigation of the Central Property portion of the Chrysler Property. Id. In its
                                                               23   final Phase II Investigation Report dated September 6, 1996, Dames & Moore
                                                               24   concluded “[t]here is no indication that the groundwater contamination results from
                                                               25   an onsite source and it is our opinion that the VOCs detected in onsite monitoring
                                                               26   wells are due to offsite sources.” Id., p. 187.
                                                               27            Based on the prior site investigations, Catellus requested a “no further
                                                               28   action” determination from the Regional Water Board for the Chrysler Property on
                                                                                                                           MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   December 14, 1998. Banks Decl., Exh. 26 [Closure Request]. In the closure
                                                                2   request, Catellus stated that the Chrysler Property “had been impacted by a leaking
                                                                3   clarifier at a facility operated by Chrysler Nu-Car Prep.” Id., p. 193. The Regional
                                                                4   Water Board granted closure for the Central Property portion of the Chrysler
                                                                5   Property on August 6, 1999. Banks Decl., Exh. 32 [Closure Letter]. In its “no
                                                                6   further action” letter, the Regional Water Board identified the Chrysler Clarifier as
                                                                7   the source of the contamination on the Central Property. Id., p. 209.
                                                                8            At noted above, subsequently, there has been no evidence of any other
                                                                9   potential sources of contamination on the Chrysler Property. Moreover, in response
                                                               10   to EPA’s General Notice Letter and Request for Information for the Omega
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                                                               11   Chemical Superfund Site dated May 15, 2009, defendant Palmtree, as successor to
                                                               12   Catellus, acknowledged the source of contamination on the Chrysler Property was
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                                                               13   the Chrysler Clarifier which Chrysler, “a former Catellus tenant,” operated on the
                                                               14   Property. Banks Decl., Exh. 33, p. 213 [Palmtree EPA Response]. Palmtree also
                                                               15   stipulated to certain facts regarding liability under CERCLA Section 113 for this
                                                               16   phase and admitted that sometime during its predecessor’s ownership of the
                                                               17   Chrysler Property “in connection with operations conducted at the Chrysler
                                                               18   Property,” there was a disposal of hazardous substances. Palmtree Liability
                                                               19   Stipulation ¶ 8 (Dkt. 678).
                                                               20                      2.   Chrysler Installed and Operated the Chrysler Clarifier after
                                                               21                           Union Pacific Sold the Chrysler Property
                                                               22            The conclusion from the previous site investigations, Catellus’ notice letters
                                                               23   to the regulatory agencies, the Regional Water Board’s “no further action” letter
                                                               24   and Palmtree’s May 15, 2009 letter to EPA is that the sole source of the
                                                               25   contamination discovered on the Chrysler Property was the 750-gallon Chrysler
                                                               26   Clarifier operated by Chrysler during it tenancy. See, e.g., SUF No. 111. The
                                                               27   location of the Chrysler Clarifier is depicted in several of the historical site
                                                               28   investigation reports as being in the former Chrysler Body Works building. SUF
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                                                                                   MSJS, AND PS&AS ISO MSJS
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                                                                1   No. 112. Based on aerial photographs and contemporaneous documents, Union
                                                                2   Pacific did not own the Chrysler Property when Chrysler installed and operated the
                                                                3   Chrysler Clarifier.
                                                                4                           a.   Aerial Photographs Confirm that the Chrysler Clarifier
                                                                5                                was Installed After Union Pacific Sold the Chrysler
                                                                6                                Property
                                                                7            The Preliminary Converse Report and Final Converse Report depict the
                                                                8   location of the Chrysler Clarifier as being under an addition or overhang of the
                                                                9   Body Works building. Banks Decl., Exhs. 18, p. 152 and 21, p. 174 [Converse
                                                               10   Reports]; Ruiz Decl., ¶¶ 5 & 6. Figure 5 of the Preliminary Converse Report and
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                                                               11   Figure 10 of the Final Converse Report are identical aerial photographs with
                                                               12   handwritten notations depicting the location of the Chrysler Clarifier. Id.
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                                                                             The Preliminary Converse Report explains that the “clarifier location was
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                                                                    confirmed by a licensed land surveyor who surveyed the area where soil was
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                                                                    affected by the hydrocarbon compounds and superimposed the location” on the
                                                               28
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   aerial photograph (i.e., Figure 5 in the Preliminary Converse Report and Figure 10
                                                                2   in the Final Converse Report). Banks Decl., Exh. 18, pp. 147-48 [Preliminary
                                                                3   Converse Report]. The location of the Chrysler Clarifier as being within the Body
                                                                4   Works building is consistent with the Tank Removal Report’s general depiction of
                                                                5   its location. Banks Decl., Exh. 17, p. 145 [Tank Removal Report].
                                                                6            Figure 10 of the Final Converse Report shows that there was an addition or
                                                                7   overhang installed on Chrysler’s Body Works building which housed the 750-
                                                                8   gallon clarifier. Banks Decl., Exh. 21, p. 174 [Final Converse Report]; Ruiz Decl.,
                                                                9
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                                                               19   ¶ 5. Historical aerial photographs of the Chrysler Property show that Chrysler did
                                                               20   not install this addition to the Body Works building until sometime between 1983
                                                               21   and 1987. Banks Decl., Exhs. 14 and 15 [Aerial Photos]; Ruiz Decl., ¶¶ 11-16. An
                                                               22   aerial photograph from 1983 shows that the Body Works building does not have the
                                                               23   addition. Banks Decl., Exh. 14 [Aerial Photo], Ruiz Decl., ¶ 13. In contrast, an
                                                               24   aerial photograph from 1987 shows the addition to the Body Works building as
                                                               25   depicted in Figure 10 of the Final Converse Report. Cf. Banks Decl., Exh. 15
                                                               26   [Aerial Photo] to Banks Decl., Exh. 21, p. 174 [Final Converse Report], Ruiz Decl.,
                                                               27   ¶ 15.
                                                               28            For all the foregoing reasons, there is no basis to dispute that the 750-gallon
                                                                                                                           MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   Chrysler Clarifier was not present until years after Union Pacific sold the Chrysler
                                                                2   Property. SUF No. 113. The aerial photos also show that during this time period
                                                                3   Chrysler expanded its operations by adding on to the existing buildings at the
                                                                4   Chrysler Property.
                                                                5                           b.   Site Plans Approved by the Los Angeles County
                                                                6                                Sanitation District on October 16, 1973 Confirm the
                                                                7                                Chrysler Clarifier was Not Installed on the Chrysler
                                                                8                                Property at that Time
                                                                9            On October 16, 1973, the Los Angeles County Sanitation District approved
                                                               10   detailed site plans in connection with Chrysler’s Industrial Wastewater Discharge
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                                                               11   Permit No. 787. Banks Decl., Exhs. 8 [Site Plan Map] and 7 [Approval Letter].
                                                               12   The clarifier associated with Permit No. 987 was for a “new car wash.” Banks
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                                                               13   Decl., Exh. 7, pp. 105 [Approval Letter]. Although we do not know the precise
                                                               14   date the clarifier was installed, there is a March 19, 1974 letter to the Santa Fe
                                                               15   Springs Building Department which discusses that the wrong-sized drain line was
                                                               16   installed for the clarifier for the carwash. Banks Decl., Exh. 12, p. 123 [Letter]. As
                                                               17   this is discussing ongoing construction issues for the clarifier, the letter indicates
                                                               18   that the clarifier was not installed or operational until after Union Pacific sold the
                                                               19   Chrysler Property.
                                                               20            The approved plans associated with Permit No. 987 also depict the location
                                                               21   of all current and proposed clarifiers and other structures on the Chrysler Property.
                                                               22   Banks Decl., Exh. 8 [Site Plan Map]. The plans do not depict the Chrysler
                                                               23   Clarifier. Id.; Ruiz Decl., ¶¶ 7 & 8.
                                                               24                           c.   Site Plans Approved by the Los Angeles County
                                                               25                                Sanitation District on January 31, 1974 Confirm the
                                                               26                                Chrysler Clarifier was Not Installed During Union
                                                               27                                Pacific’s Ownership of the Chrysler Property
                                                               28            On January 31, 1974, the Los Angeles County Sanitation District approved
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   detailed site plans in connection with Chrysler’s Industrial Wastewater Discharge
                                                                2   Permit Nos. 926, 927 and 928. Banks Decl., Exhs. 10 [Plan Approval], 11 [Site
                                                                3   Plan Map] and 13, p. 126 [Map]. The approved plans depict the location of all
                                                                4   current and proposed clarifiers and other structures on the Chrysler Property.
                                                                5   Banks Decl., Exhs. 11 [Site Plan Map] and 13, p. 126 [Map]; Ruiz Decl., ¶¶ 7 & 8.
                                                                6   The plans are marked as approved as of January 31, 1974 – 10 days after Union
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                                                                    Pacific sold the Chrysler Property. Banks Decl., Exh. 11 [Site Plan Map]; Ruiz
                                                               21
                                                                    Decl., ¶ 7. The plans do not show a 750-gallon clarifier (or any sized clarifier)
                                                               22
                                                                    located in or even adjacent to the Body Works building at that time. Banks Decl.,
                                                               23
                                                                    Exh. 11 [Site Plan Map]; Ruiz Decl., ¶¶ 7-10.
                                                               24
                                                                             The County of Los Angeles did not issue the permits for the clarifiers
                                                               25
                                                                    associated with Industrial Wastewater Discharge Permit Nos. 926, 927 and 928
                                                               26
                                                                    until April 2, 1974 – several months after Union Pacific sold the Chrysler Property.
                                                               27
                                                                    Banks Decl., Exh. 13 [Permit Approval].
                                                               28
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1            E.        NO EVIDENCE OF A RELEASE OF HAZARDOUS
                                                                2                      SUBSTANCES IMPACTING GROUNDWATER EXISTS FROM
                                                                3                      EITHER THE NORTH CENTRAL PROPERTY, LASALLE
                                                                4                      PROPERTY OR MULTITENANT PROPERTY
                                                                5            Even though Plaintiffs include the North Central Property, LaSalle Property,
                                                                6   and Multitenant Property in its definition of the Chrysler Property in the FAC, there
                                                                7   is no evidence that any release of hazardous substances impacting groundwater
                                                                8   originated from these properties. Banks Decl., Exh. 34, p. 217-18 [RI/FS]. Both
                                                                9   EPA and the Regional Water Board identify the only potential source of
                                                               10   groundwater contamination on the Chrysler Property as originating from the
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                                                               11   Central Property (aka “Site A”). Banks Decl., Exh. 34, p. 217-18 [RI/FS] and SUF
                                                               12   No. 111.
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                                                               13            Dames & Moore conducted site investigations of the North Central Property,
                                                               14   LaSalle Property, and Multitenant Property on behalf of Catellus. Banks Decl.,
                                                               15   Exhs. 22, 23, and 25 [Site Investigations]. These investigations concluded that the
                                                               16   properties were not a source of soil or groundwater contamination:
                                                               17                 • North Central Property: “an onsite source [of VOCs] has not been
                                                               18                      identified.” Banks Decl., Exh. 25, p. 191 [North Central Property
                                                               19                      Assessment].
                                                               20                 • LaSalle Property: “former site features located on the LaSalle
                                                               21                      property (such as the clarifier) have not adversely impacted soil and
                                                               22                      groundwater.” Banks Decl., Exh. 22, p. 176 [LaSalle Property
                                                               23                      Assessment].
                                                               24                 • Multitenant Property: “No evidence for an onsite source of VOCs has
                                                               25                      been detected.” Banks Decl., Exh. 23, p. 184 [Multitenant Property
                                                               26                      Assessment].
                                                               27            Importantly, the Regional Water Board relied on these assessments in
                                                               28   granting complete “no further action” status for the North Central Property, LaSalle
                                                                                                                              MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   Property, and Multitenant Property. Banks Decl., Exhs. 27, 28, and 30 [Closure
                                                                2   Letters]. In its no further action determinations, the Regional Water Board also did
                                                                3   not identify any of these properties as being even a potential source of groundwater
                                                                4   contamination. Id.
                                                                5            The Central Property was the only property the Regional Water Board
                                                                6   identified as a potential source of groundwater contamination (emanating from the
                                                                7   Chrysler Clarifier). Banks Decl., Exh. 32 [Closure Letter]. The Regional Water
                                                                8   Board, however, also recognized that data “indicated an upgradient groundwater
                                                                9   contamination plume was migrating on-site.” Id., p. 210.
                                                               10            F.        NO REGULATORY AGENCY HAS IDENTIFIED UNION
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                                                               11                      PACIFIC AS A POTENTIALLY RESPONSIBLE PARTY
                                                               12            No regulatory agency has identified Union Pacific as a PRP for any
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                                                               13   contamination on the Chrysler Property. Throughout its oversight of the Chrysler
                                                               14   Property, the Regional Water Board never identified Union Pacific as responsible
                                                               15   for the contamination. Likewise, EPA never identified Union Pacific as a
                                                               16   potentially responsible party under CERCLA with respect to the Chrysler Property.
                                                               17   FAC ¶ 153.
                                                               18            As discussed by Plaintiffs in the FAC, “EPA evaluated many of the
                                                               19   Defendants in connection with the OU-2 Facility and has concluded that certain of
                                                               20   them are potentially responsible parties.” FAC ¶ 4. Plaintiffs have intimated both
                                                               21   in the FAC and their Opposition to Defendants’ Motion for Summary Judgment Re:
                                                               22   Statute of Limitations (the “SOL Opp.”) that they relied on EPA’s assessment of
                                                               23   the potentially responsible parties in determining who is liable and who to name in
                                                               24   this action. See, e.g., FAC ¶¶ 4, 5; SOL Opp., p. 1, ln. 26-p. 2, ln.5; p. 10, ln. 25-
                                                               25   26; p. 17, ln. 28-p.18, ln. 3 (Dkt. 770). With respect to the Chrysler Property,
                                                               26   however, EPA has only identified Chrysler, Palmtree, and Burke Street as
                                                               27   potentially responsible parties for the “OU-2 Facility groundwater contamination.”
                                                               28   FAC ¶ 153. EPA has never identified Union Pacific as a potentially responsible
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   party. See FAC ¶ 153.
                                                                2   III.     ARGUMENT
                                                                3            A.        UNION PACIFIC IS NOT A CERCLA POTENTIALLY
                                                                4                      RESPONSIBLE PARTY AND IS THEREFORE ENTITLED TO
                                                                5                      PARTIAL SUMMARY JUDGMENT
                                                                6            There is no evidence that Union Pacific is a CERCLA “potentially
                                                                7   responsible party” as required to establish liability under CERCLA for the Chrysler
                                                                8   Property. To prevail on its claims for contribution (First Claim) and declaratory
                                                                9   relief (Third Claim) under CERCLA, Plaintiffs must prove that (1) the Chrysler
                                                               10   Property is a facility, (2) there was a release or threatened release of hazardous
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                                                               11   substances at or from the Chrysler Property impacting groundwater in OU2, (3) that
                                                               12   the release or threatened release caused Plaintiffs to incur response costs that were
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                                                               13   necessary and consistent with the National Contingency Plan and (4) Union Pacific
                                                               14   is a “responsible party” subject to CERCLA liability under 42 U.S.C. Section
                                                               15   9607(a). Carson Harbor Village Ltd. v. Unocal Corp., 270 F.3d 863, 870-71 (9th
                                                               16   Cir. 2001); see also (Dkt. 615, n. 2). Without conceding any of the foregoing
                                                               17   elements, specifically, the Plaintiffs cannot prove the fourth element. 5 The
                                                               18   uncontroverted evidence demonstrates that Union Pacific is not a responsible party
                                                               19   subject to CERCLA liability and, therefore, is entitled to partial summary
                                                               20   judgment.
                                                               21            CERCLA, Section 9607(a), sets out the “four classes of persons subject to
                                                               22   the liability provisions.” Id. at 871 (citations omitted). A CERCLA “responsible
                                                               23   party” includes (1) any current “owner and operator” of the site at issue and (2)
                                                               24   “any person who at the time of disposal of any hazardous substance owned or
                                                               25
                                                                    5
                                                                      Whether Plaintiffs incurred response costs that were necessary and consistent with
                                                               26   the National Contingency Plan is not at issue in this phase of the litigation. See
                                                                    Parties’ Joint Status Conference Report filed on April 21, 2017 (Dkt. 600), the
                                                               27   Parties’ Supplemental Joint Status Conference Report filed on April 26, 2017 (Dkt.
                                                                    602), and the Parties’ Joint Status Conference Report filed on May 22, 2017 (Dkt.
                                                               28   615). Union Pacific does not admit that Plaintiffs can satisfy this element.
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   operated any facility at which such hazardous substances were disposed of.”
                                                                2   CERCLA, 42 U.S.C. § 9607(a)(1), (2).6 In the FAC, Plaintiffs allege that Union
                                                                3   Pacific is a CERCLA responsible party because it is a “current or previous ‘owner’
                                                                4   or ‘operator,’” of the Chrysler Property. FAC ¶ 72. As discussed below, Union
                                                                5   Pacific does not fall within either of these categories.
                                                                6                      1.   Union Pacific is Not a Current Owner of the Chrysler
                                                                7                           Property
                                                                8            Plaintiffs admit that Union Pacific does not currently own the Chrysler
                                                                9   Property. SUF No. 103. Therefore, Union Pacific cannot be held liable as a
                                                               10   “current owner” of the Chrysler Property.
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                                                               11                      2.   Union Pacific is Not a Past or Current Operator of the
                                                               12                           Chrysler Property At the Time of Disposal of Any
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                                                               13                           Hazardous Substance
                                                               14            In discovery responses, Plaintiffs have alleged that Union Pacific and/or its
                                                               15   predecessors may be current operators of the Chrysler Property or operators of the
                                                               16   Chrysler Property at the time hazardous substances were disposed of based on the
                                                               17   alleged presence of railroad tracks “at or near” the Chrysler Property and that “a
                                                               18   railroad right of way may have crossed a portion” of the Chrysler Property that
                                                               19   Union Pacific operated. Banks Decl., Exh. 36, pp. 240-42 [Plaintiffs’ RFA
                                                               20   Response]. Neither allegation supports finding Union Pacific liable as a past or
                                                               21   current operator of the Chrysler Property at the time of disposal of any hazardous
                                                               22   substance.
                                                               23            The CERCLA “facility” or site at issue is the Chrysler Property. FAC ¶¶ 72
                                                               24   and 138. Accordingly, to hold Union Pacific liable as a responsible party, Plaintiffs
                                                               25   must prove that Union Pacific currently operates the Chrysler Property or operated
                                                               26
                                                               27   6
                                                                     Responsible parties also include any “arrangers” or “transporters.” CERCLA, 42
                                                                    U.S.C. § 9607(a)(3),(4). Plaintiffs have not alleged that Union Pacific is an
                                                               28   “arranger” or “transporter.” FAC ¶ 72.
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   the Chrysler Property at the time of disposal of any hazardous substances. 42
                                                                2   U.S.C. § 9607(a)(1), (2). It is immaterial whether Union Pacific operates or ever
                                                                3   operated railroad tracks “near” the Chrysler Property. Therefore, alleged operation
                                                                4   of railroad tracks near the Chrysler Property cannot be grounds for Union Pacific’s
                                                                5   CERCLA liability.
                                                                6            The only historical tracks of any kind “at” the Chrysler Property was a right-
                                                                7   of-way that was removed at the latest approximately six decades ago. SUF No.
                                                                8   108. Historical maps from the early 1960s and aerial photographs show that the
                                                                9   right-of-way was removed between 1962 and 1964, prior to the construction of
                                                               10   buildings on the Chrysler Property. Banks Decl., Exhs. 2 [1964 Map], 5 [1967
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                                                               11   Map], 3 and 4 [Aerial Photos], Ruiz Decl., ¶¶ 17-22. As the right-of-way is
                                                               12   currently non-operational, Union Pacific cannot be a “current” operator of the
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                                                               13   Chrysler Property.
                                                               14            Finally, there is absolutely no evidence that Union Pacific’s past operation of
                                                               15   the right-of-way caused a disposal of any hazardous substances. The right-of-way
                                                               16   was not even in existence at the time that Chrysler conducted its operations on the
                                                               17   Chrysler Property. Under CERCLA, in order to be liable as an “operator” an entity
                                                               18   “must manage, direct or conduct operations specifically relating to pollution, that is,
                                                               19   operations having to do with the leakage or disposal of the hazardous waste.” U.S.
                                                               20   v. Bestfoods, 524 U.S. 51, 66-67 (1998). Since there is no evidence that Union
                                                               21   Pacific’s operations of the right-of-way caused the disposal of any hazardous
                                                               22   substances, Union Pacific cannot be liable as a “past operator” of the Chrysler
                                                               23   Property. Id.; see also Redevelopment Agency of the City of Stockton v. BNSF Ry.
                                                               24   Co., 643 F.3d 668, 680 (9th Cir. 2011) (holding that railroads with right-of-way
                                                               25   over contaminated property were not operators as defined by CERCLA because
                                                               26   they did not conduct operations related to the contamination).
                                                               27            For the foregoing reasons, Union Pacific cannot be held liable as a past or
                                                               28   present operator of the Chrysler Property.
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1                      3.   There is No Evidence that Union Pacific Owned the Chrysler
                                                                2                           Property at the Time of Disposal of any Hazardous
                                                                3                           Substance
                                                                4            The scope of potential liability for a past owner of a property is “more
                                                                5   limited” than that of a current owner. New York v. Shore Realty Corp., 759 F.2d
                                                                6   1032, 1044 (2d Cir. 1985). Liability under CERCLA for past ownership does not
                                                                7   extend to all former owners of a facility. Liability applies only to those former
                                                                8   owners who owned the facility “at the time of disposal of any hazardous
                                                                9   substance.” Id.; 42 U.S.C. § 9607(a)(2). Here, because Plaintiffs are seeking
                                                               10   contribution for regional groundwater contamination, the hazardous substances
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                                                               11   must also have impacted the groundwater. There is no evidence that Union Pacific
                                                               12   or its predecessors owned the Chrysler Property at the time of disposal of any
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                                                               13   hazardous substance that have impacted groundwater or otherwise.
                                                               14            CERCLA, 42 U.S.C. § 9601(29), defines “disposal” in reference to the
                                                               15   definition in the Solid Waste Disposal Act, which states, in pertinent part, “[t]he
                                                               16   term ‘disposal’ means the discharge, deposit, injection, dumping, spilling, leaking,
                                                               17   or placing of any ... hazardous waste into or on any land or water so that such ...
                                                               18   hazardous waste ... may enter the environment.” 42 U.S.C. § 6903(3). Thus, to
                                                               19   support a “prima facie” case against Union Pacific, Plaintiffs must “establish that a
                                                               20   spill, discharge, leak, etc., occurred at the time [Union Pacific] controlled the site.”
                                                               21   ABB Indus. Sys., Inc. v. Prime Tech., Inc., 120 F.3d 351, 356 (2d Cir. 1997)
                                                               22   (upholding grant of summary judgment in defendants’ favor because plaintiff did
                                                               23   not establish that a disposal occurred during defendants’ ownership of the
                                                               24   property); Carson Harbor Village Ltd., 270 F.3d at 875 (to hold defendant liable as
                                                               25   a past owner, “there must have been a ‘discharge, deposit, injection, dumping,
                                                               26   spilling, leaking, or placing’ of contaminants on the property during their
                                                               27   ownership”).
                                                               28            While Union Pacific owned the Chrysler Property, there is no evidence that
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
                                                                    88151-00029/3942474.1                       49
                                                                                                                                   MSJS, AND PS&AS ISO MSJS
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                                                                1   Union Pacific owned the Chrysler Property “at the time of disposal of any
                                                                2   hazardous substance” such that Union Pacific may be classified as a CERCLA
                                                                3   “responsible party.” CERCLA, 42 U.S.C. § 9607(a)(2); Carson Harbor Village
                                                                4   Ltd., 270 F.3d at 875. Plaintiffs admit there has been ample time to take discovery,
                                                                5   asserting to the Court: “Plaintiffs have engaged in extensive discovery concerning
                                                                6   Defendants’ liability and have done so at great effort and expense, including
                                                                7   propounding or responding to over 150 interrogatories, several hundred document
                                                                8   requests and taking more than three dozen depositions.” Joint Status Conference
                                                                9   Statement, p. 4, ln. 12-15 (Dkt. 731). None of these efforts have revealed evidence
                                                               10   that Union Pacific should be liable as a past owner.7
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                                                               11            Again, the only potential8 source of groundwater contamination originating
                                                               12   from the Chrysler Property is from the Chrysler Clarifier. SUF No. 111. As
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                                                               13
                                                                    7
                                                                      In “Plaintiffs’ Responses to Defendant Union Pacific Railroad Company’s First
                                                               14   Set of Interrogatories,” while Plaintiffs describe various physical features on the
                                                                    Chrysler Property (such as clarifiers, drainage features, tanks), they fail to identify a
                                                               15   single release of hazardous substances to the environment during Union Pacific’s
                                                                    ownership of the Chrysler Property, much less a release that impacted groundwater.
                                                               16   Under Rule 56(c), summary judgment is proper “if the pleadings, depositions,
                                                                    answers to interrogatories, and admissions on file, together with the affidavits, if
                                                               17   any, show that there is no genuine issue as to any material fact and that the moving
                                                                    party is entitled to a judgment as a matter of law.” (emphasis added.) The “plain
                                                               18   language of Rule 56(c) mandates the entry of summary judgment, after adequate
                                                                    time for discovery and upon motion, against a party who fails to make a showing
                                                               19   sufficient to establish the existence of an element essential to that party’s case, and
                                                                    on which that party will bear the burden of proof at trial. In such a situation, there
                                                               20   can be ‘no genuine issue as to any material fact,’ since a complete failure of proof
                                                                    concerning an essential element of the nonmoving party’s case necessarily renders
                                                               21   all other facts immaterial. The moving party is ‘entitled to a judgment as a matter of
                                                                    law’ because the nonmoving party has failed to make a sufficient showing on an
                                                               22   essential element of her case with respect to which she has the burden of proof.”
                                                                    Celotex Corp. v. Catrett, 477 U.S. 317, 322-323 (1986).
                                                               23
                                                                    8
                                                                      Union Pacific does not admit that any groundwater contamination originated from
                                                               24   the Chrysler Property. In 1996, Dames & Moore prepared a Phase II Investigation
                                                                    of the Central Property portion of the Chrysler Property. In its final Phase II
                                                               25   Investigation Report dated September 6, 1996, Dames & Moore concluded “[t]here
                                                                    is no indication that the groundwater contamination results from an onsite source
                                                               26   and it is our opinion that the VOCs detected in onsite monitoring wells are due to
                                                                    offsite sources.” Banks Decl., Exh. 24, p. 187 (D&M Phase II – Central Property
                                                               27   UPRR127878) Whether groundwater contamination originated from the Chrysler
                                                                    Clarifier is immaterial, because Union Pacific sold the Chrysler Property before the
                                                               28   Chrysler Clarifier was installed.
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
                                                                    88151-00029/3942474.1                      50
                                                                                                                                   MSJS, AND PS&AS ISO MSJS
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                                                                1   discussed above, at the time that Union Pacific sold the Chrysler Property on
                                                                2   January 21, 1974, the Chrysler Clarifier was not yet installed on the Chrysler
                                                                3   Property. Therefore, Union Pacific did not and could not have owned the Chrysler
                                                                4   Property “at the time of disposal of any hazardous substance.”
                                                                5            There is no other evidence showing that a disposal of any hazardous
                                                                6   substances occurred during Union Pacific’s ownership of the Chrysler Property or
                                                                7   that such disposal has impacted groundwater. Without such evidence, Plaintiffs
                                                                8   simply cannot make a prima facie showing that Union Pacific is a “potentially
                                                                9   responsible party” under CERCLA. Carson Harbor Village Ltd., 270 F.3d at 875;
                                                               10   ABB Indus. Sys., Inc., 120 F.3d at 356. For the foregoing reasons, Union Pacific
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                                                               11   cannot be held liable as a past owner of the Chrysler Property.
                                                               12   IV.      CONCLUSION
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                                                               13            As set forth above, Plaintiffs have offered no evidence whatsoever that
                                                               14   hazardous substances were released to the environment at the Chrysler Property
                                                               15   during Union Pacific’s ownership or operation of the Chrysler Property, let alone
                                                               16   that any such alleged release impacted groundwater. Rather, the only known source
                                                               17   of potential groundwater contamination from the Chrysler Property originated from
                                                               18   the Chrysler Clarifier, which was indisputably installed after Union Pacific sold the
                                                               19   property. Therefore, there is no evidentiary basis to support an allegation that
                                                               20   hazardous substances impacting groundwater occurred during Union Pacific’s
                                                               21   ownership or operation of the Chrysler Property. As such, Union Pacific is not and
                                                               22   cannot be deemed a responsible party under CERCLA. For these reasons, Union
                                                               23   ///
                                                               24   ///
                                                               25   ///
                                                               26   ///
                                                               27   ///
                                                               28   ///
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                                                                                  MSJS, AND PS&AS ISO MSJS
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                                                                1   Pacific’s motion for partial summary judgment as to Plaintiffs’ First and Third
                                                                2   Causes of action with respect to the Chrysler Property should be granted.
                                                                3
                                                                     DATED: January 14, 2021               GREENBERG GLUSKER FIELDS
                                                                4                                          CLAMAN & MACHTINGER LLP
                                                                5
                                                                6
                                                                                                     By:          /s/ Peter A. Nyquist
                                                                7
                                                                                                           David E. Cranston
                                                                8                                          Peter A. Nyquist
                                                                                                           Sedina L. Banks
                                                                9                                          Sherry E. Jackman
                                                               10                                          Attorneys for Defendant Union Pacific
                                                                                                           Railroad Company
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                                                                1                           PATSOURAS PROPERTY DEFENDANTS’
                                                                2      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                                                3        MOTION FOR SUMMARY JUDGMENT RE: CERCLA LIABILITY
                                                                4
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                                                                1   I.       INTRODUCTION
                                                                2            The dispositive question for this motion is:
                                                                3            Did hazardous substances which may have been released onto the soil
                                                                4   decades ago at the Patsouras Property (which sits atop the path of the
                                                                5   contaminated Omega OU-2 groundwater plume) travel from the soil surface to a
                                                                6   depth of 35 to 74 feet to end up in the OU-2 groundwater?
                                                                7            The answer—from the governmental agencies, environmental consultants,
                                                                8   and the retained expert who have investigated the Patsouras Property and whether it
                                                                9   has had any impact on the OU-2 groundwater plume—is:
                                                               10            No.
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                                                               11            Neither of the two governmental agencies with authority for regulating (and
                                                               12   expertise in assessing) groundwater contamination in this matter has answered the
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                                                               13   question affirmatively. To the contrary:
                                                               14            •         The U.S. Environmental Protection Agency, after investigating
                                                               15                      properties overlying the plume which may have contributed to the OU-
                                                               16                      2 contamination, issued notice letters to those owners and operators of
                                                               17                      properties which may have contributed, in accordance with EPA’s
                                                               18                      policy to issue notice letters “to all parties where there is sufficient
                                                               19                      evidence to make a preliminary determination of potential liability
                                                               20                      under §107 of CERCLA.” 1 However, EPA did not issue a notice letter
                                                               21                      to the Patsouras Property Defendants. EPA’s environmental
                                                               22                      consultant, CH2M Hill, investigated potential source properties and
                                                               23                      identified properties located over the OU-2 groundwater plume which
                                                               24                      were sources of chlorinated VOCs (PCE, TCE, 1,1,-DCE) and non-
                                                               25                      chlorinated VOCs to groundwater, but did not identify the Patsouras
                                                               26                      Property as an on-going or historical source of chemicals to the OU-2
                                                               27   1
                                                                        53 Fed. Reg. 5298, 5301 (Feb. 23, 1988)(emphasis added).
                                                               28
                                                                                                                                MOVING DEFENDANTS’ JOINT NOTICES,
                                                                    88151-00029/3942474.1                            54
                                                                                                                                         MSJS, AND PS&AS ISO MSJS
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                                                                1                      groundwater.
                                                                2            •         The Los Angeles Regional Water Quality Control Board formally and
                                                                3                      explicitly concluded that the Property is not contributing to the OU-2
                                                                4                      contamination, issuing a “No Further Action Letter” to current
                                                                5                      property owner Defendant Kekropia, Inc., approving and executing a
                                                                6                      deed restriction for the Property, and ordering Kekropia to remove
                                                                7                      existing groundwater monitoring wells because they were unnecessary.
                                                                8                      Moreover, the environmental consultants who have thoroughly
                                                                9                      investigated the Property, have likewise concluded that the Property
                                                               10                      has not been a source of any contamination to the OU-2 groundwater:
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                                                               11            •         Biophysics Environmental Assessments, Inc. concluded: “No threat
                                                               12                      exists to groundwater from metals, solvents, and total petroleum
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                                                               13                      hydrocarbons, based upon the low level and isolated low volume of all
                                                               14                      potentially hazardous materials identified,” and the concentrations of
                                                               15                      petroleum and solvents at the Property “had insufficient mass for
                                                               16                      vertical migration, with sorption and desorption, in excess of a few
                                                               17                      feet.” 2
                                                               18            •         Environmental Audit, Inc.— after investigating the Property for more
                                                               19                      than 15 years—concluded: “Chlorinated compounds are not generally
                                                               20                      identified in soil at the Site but are present in ground water at
                                                               21                      concentrations that are consistent with the regional impact to ground
                                                               22                      water (see Section 3.0). In EAI’s opinion the chlorinated compounds
                                                               23                      detected in ground water at the Site are not the result of former site
                                                               24                      activities.”3
                                                               25
                                                               26   2
                                                                      Ex. G to Declaration of William D. Wick (Wick Decl.), PTFS00023607 (emphasis
                                                               27   added).
                                                                    3
                                                                      Ex. D to Wick Decl., p. 21 (PTFS00024533)(emphasis added).
                                                               28
                                                                                                                               MOVING DEFENDANTS’ JOINT NOTICES,
                                                                    88151-00029/3942474.1                            55
                                                                                                                                        MSJS, AND PS&AS ISO MSJS
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                                                                1            Retained expert Dr. Jean Kulla—a geologist with a Ph.D. in geochemistry
                                                                2   and decades of experience assessing soil and groundwater contamination—was
                                                                3   asked to review the data and assess whether the Patsouras Property has been or is
                                                                4   contributing any hazardous substances to the OU-2 groundwater plume. Dr. Kulla
                                                                5   corroborated the conclusions of the governmental agencies and the environmental
                                                                6   consultants, concluding that the Patsouras property has not contributed and is not
                                                                7   contributing hazardous substances to the OU-2 groundwater.
                                                                8            The Patsouras Property Defendants can be liable to Plaintiffs under CERCLA
                                                                9   only if hazardous substances which may have been released onto the Property soil
                                                               10   traveled 35 to 74 feet 4 below ground surface and then entered into the OU-2
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                                                               11   groundwater (causing Plaintiffs to incur response costs). That has not happened
                                                               12   here. This Motion for Summary Judgment should be granted.
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                                                               13   II.      SUMMARY JUDGMENT AND CERCLA STANDARDS
                                                               14            The Patsouras Property Defendants incorporate the Summary Judgment
                                                               15   Standard and CERCLA Standard from the Moving Defendants’ Common
                                                               16   Statement of Facts and Summary.
                                                               17            Plaintiffs have alleged a claim against the Patsouras Property Defendants for
                                                               18   contribution under CERCLA § 113(f)(1)5 and a related claim for declaratory
                                                               19   judgment. 6 Plaintiffs have also alleged a claim under the Resource Conservation
                                                               20   and Recovery Act (RCRA) against Palley Supply Co., William Palley, and
                                                               21   Kekropia, Inc. 7 If the Patsouras Property Defendants prevail and obtain summary
                                                               22   judgment on the CERCLA claims, the RCRA claims against certain of the
                                                               23
                                                               24
                                                                    4
                                                                      The minimum depth from soil surface to the groundwater under the
                                                               25
                                                                    Property has been more than 35 feet; the groundwater depth has fluctuated over the
                                                               26   relevant period and has been as deep as 74.7 feet below ground surface. Id.
                                                                    5
                                                                      Ex. A to Wick Decl. (“First Claim for Relief,” FAC ¶¶ 396-407).
                                                               27   6
                                                                      Id. (“Third Claim for Relief,” (FAC ¶¶ 424-426).
                                                               28   7
                                                                      Id. (“Second Claim for Relief,” (FAC ¶¶ 408-423).
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   Patsouras Property Defendants fail as well. 8
                                                                2   III.     FACTS
                                                                3            A.        THE OMEGA CHEMICAL SITE AND OU-2 GROUNDWATER
                                                                4                      PLUME
                                                                5            The Patsouras Property Defendants incorporate the Common Statement of
                                                                6   Facts from the Moving Defendants’ Common Statement of Facts and Summary.
                                                                7            B.        THE PATSOURAS PROPERTY
                                                                8            The Patsouras Property (Property) is an 8.5-acre parcel located at 11630-
                                                                9   11700 Burke Street in Santa Fe Springs, California. 9 From 1968 to 1972, Globe
                                                               10   Oil Tools Company operated on the Property, manufacturing and maintaining oil
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                                                               11   well drilling equipment and tools. 10 Plaintiffs allege that in 1969 a predecessor to
                                                               12   Defendant Halliburton Affiliates, LLC named Rucker acquired the Patsouras
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                                                               13   property. 11 In 1972, William D. Palley and Defendant William K. Palley acquired
                                                               14   the property from Rucker, and a Palley family member (or the Family Trust) owned
                                                               15   the Property until 1995; the Property was used as a government surplus warehouse,
                                                               16   by industrial auctioneers, by a plastic reprocessing business and by a paper and box
                                                               17   company. 12 Defendant Kekropia, Inc. (Kekropia) acquired the Property in 1995
                                                               18   and the Property has been used for wholesale grocery warehouse and a tattoo artist
                                                               19   supply business.13
                                                               20
                                                               21
                                                               22
                                                                    8
                                                                      Plaintiffs cannot show that there is a current “imminent and substantial
                                                               23
                                                                    endangerment” from the Patsouras Property to the OU-2 groundwater when the Los
                                                               24   Angeles Regional Water Quality Control Board has formally concluded otherwise.
                                                                    Ex. B and Ex. I to Wick Decl.
                                                               25   9
                                                                      Ex. A to Wick Decl. (FAC ¶ 344).
                                                               26   10
                                                                       Ex. B to Wick Decl.
                                                                    11
                                                                       Ex. A to the Wick Decl. (FAC ¶ 344).
                                                               27   12
                                                                       Ex. B to Wick Decl.
                                                               28   13
                                                                       Id.
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
                                                                    88151-00029/3942474.1                      57
                                                                                                                                  MSJS, AND PS&AS ISO MSJS
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                                                                1            C.        PATSOURAS PROPERTY ENVIRONMENTAL
                                                                2                      INVESTIGATIONS AND REMEDIATION
                                                                3            In 1994, AIG Environmental Consultants performed a Phase I Environmental
                                                                4   Site Assessment of the Property. AIG concluded that “the greatest potential risk to
                                                                5   the subject property” was not the property itself, but the upgradient properties (the
                                                                6   “total of 37 sites less than ¼ mile away whose potential off-site contamination may
                                                                7   have impacted the Property”) and recommended additional investigation.14
                                                                8            After acquiring the Property, Kekropia retained Environmental Audit, Inc.
                                                                9   (EAI) to conduct an environmental investigation of the Property. EAI’s
                                                               10   investigation indicated that “the majority of the soil contamination is heavy end
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                                                               11   petroleum product.”15 EAI considered a variety of in-situ technologies for
                                                               12   remediation of the heavy end petroleum hydrocarbons in the soil, but determined
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                                                               13   that they were impracticable “for the relatively small volume of contaminated soil
                                                               14   at the Site.”16 Therefore, EAI recommended excavation and off-site disposal of the
                                                               15   impacted soil. 17
                                                               16            Most hydrocarbon-impacted soil in the upper ten feet and fuel underground
                                                               17   storage tanks and clarifiers were removed from the Property. 18
                                                               18            In 2006, Biophysics Environmental Assessments, Inc. (“BEA”) performed
                                                               19   confirmation testing and removal of environmentally impacted soil identified in
                                                               20   previous site testing. BEA concluded:
                                                               21            •         “[N]o threat exists to groundwater from metals, solvents and total
                                                               22                      petroleum hydrocarbons, based upon the low level and isolated low
                                                               23                      volume of all potentially hazardous materials identified in initial
                                                               24
                                                               25   14
                                                                       Ex. C to Wick Decl.
                                                               26   15
                                                                       Ex. H to Wick Decl.
                                                                    16
                                                                       Id.
                                                               27   17
                                                                       Id. at p. 12 (PTFS00022453).
                                                               28   18
                                                                       Ex. B to Wick Decl.
                                                                                                                              MOVING DEFENDANTS’ JOINT NOTICES,
                                                                    88151-00029/3942474.1                           58
                                                                                                                                       MSJS, AND PS&AS ISO MSJS
                                                  Case 2:14-cv-06456-GW-E Document 902 Filed 01/14/21 Page 76 of 84 Page ID #:17447



                                                                1                      testing by EAI in 1994.” 19
                                                                2            •         Concentrations of petroleum and solvents “had insufficient mass for
                                                                3                      vertical migration, with sorption and desorption, in excess of a few
                                                                4                      feet.”20
                                                                5            •         “[N]o mass of petroleum hydrocarbons and no measurable mass of
                                                                6                      chlorinated solvents are present in the soil column with capability for
                                                                7                      migration to the groundwater by moisture migration through
                                                                8                      adsorption and partitioning.”21
                                                                9            EAI concluded that “TGPH-G, TPH-D, and TPH-O have never been
                                                               10   identified in ground water” at the Patsouras Property. “Chlorinated compounds are
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                                                               11   not generally identified in soil at the Site but are present in ground water at
                                                               12   concentrations that are consistent with the regional impact to ground water (see
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                                                               13   Section 3.0). In EAI’s opinion the chlorinated compounds detected in ground
                                                               14   water at the Site are not the result of former site activities.” 22
                                                               15            On January 4, 2017, the Los Angeles Regional Water Quality Control Board
                                                               16   Issued a “No Further Action” letter to Kekropia, concluding that the cleanup was
                                                               17   complete to “assure protection of human health and waters of the State at and near
                                                               18   the Site for their beneficial uses.”23 The Regional Board also executed and
                                                               19   approved, by and for the benefit of the Regional Board, the Covenant and
                                                               20   Environmental Restriction for the Property, stating as follows:
                                                               21                      Chlorinated solvent compounds present in the
                                                                                       groundwater beneath the Site appear to be consistent with
                                                               22                      the site area regional chlorinated solvent impacts; no
                                                                                       dissolved or free phase total petroleum 24hydrocarbons
                                                               23                      have been detected in the groundwater.
                                                               24
                                                                    19
                                                                        Ex. G to Wick Decl. (emphasis added).
                                                               25   20
                                                                       Id.
                                                               26   21
                                                                       Id.
                                                                    22
                                                                       Ex. D to Wick Decl. (emphasis added).
                                                               27   23
                                                                       Id.
                                                               28   24
                                                                       Ex. I to Wick Decl., p. 2.
                                                                                                                              MOVING DEFENDANTS’ JOINT NOTICES,
                                                                    88151-00029/3942474.1                            59
                                                                                                                                       MSJS, AND PS&AS ISO MSJS
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                                                                1            D.        PLAINTIFFS’ EVIDENCE
                                                                2            Plaintiffs’ evidence of releases of hazardous substances onto the Patsouras
                                                                3   Property is remarkably thin. Plaintiffs allege three releases to the Property soil
                                                                4   (FAC ¶ 352), one of which identifies a release of a hazardous substance:
                                                                5                      1.   1970 Rinsewater Release
                                                                6            Plaintiffs allege that in 1970, “Globe was issued a notice of violation for
                                                                7   disposing rinse water containing hexavalent chromium from its metal treating
                                                                8   operations to the ground” at the Patsouras Property. (FAC ¶ 352.) 25
                                                                9            After receiving the notice, the Globe plant manager “stated that he would
                                                               10   have discharge discontinued at once,” and Globe moved at warp speed to submit—
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                                                               11   four days after receiving the notice of violation—a formal application to the County
                                                               12   Engineer for approval of an industrial waste disposal system to channel liquid waste
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                                                               13   into the sewer after passing through two interceptors.26 The application was
                                                               14   approved, the County determined that the disposal system was “constructed
                                                               15   according to cleared plans,” and the County issued Industrial Waste Disposal
                                                               16   Permit No. 4485 to Globe to discharge into the sewer washdown and wastes from
                                                               17   manufacturing and processing oil well drilling tools. 27
                                                               18            Did that 1970 release of rinsewater impact the OU-2 groundwater?
                                                               19            No. Fifteen years of soil sampling on the Patsouras Property confirmed that
                                                               20   the chromium levels in all the samples were within background levels
                                                               21   (concentration ranges normally found in natural, uncontaminated soil), except for a
                                                               22   single sample from two feet below ground surface which was only slightly above
                                                               23   background levels. 28
                                                               24            Was hexavalent chromium detected in the OU-2 groundwater plume in wells
                                                               25
                                                               26   25
                                                                       Ex. E to Wick Decl., at PTFS00022295, PTSF00022298.
                                                                    26
                                                                       Id., at PTFS00022293-22294.
                                                               27   27
                                                                       Id., at PTFS00022291, PTFS00022288.
                                                               28   28
                                                                       Ex. K to Wick Decl.
                                                                                                                           MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   on the Patsouras Property? Yes, but only at trace concentrations below stringent
                                                                2   State of California Maximum Contaminant Levels for drinking water of 10
                                                                3   micrograms per liter. 29 There would be no basis for anyone to incur CERCLA
                                                                4   response costs to remediate the OU-2 groundwater for chromium concentrations
                                                                5   which would be safe to drink under stringent drinking water standards. Moreover,
                                                                6   the evidence indicates that those low concentrations were not the result of a release
                                                                7   from the Patsouras Property, but from the major upgradient source of hexavalent
                                                                8   chromium, the Foss Plating Property, identified by EPA’s environmental
                                                                9   consultant, CH2M Hill.30 So, there would be no basis for anyone to incur response
                                                               10   costs to remediate the OU-2 groundwater for chromium under the Patsouras
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                                                               11   Property.
                                                               12                      2.   1970 Alleged Discharge of Wastes from Steam Cleaning
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                                                               13            The FAC alleges that “…at that time [1970] Globe was also discharging
                                                               14   wastes from its steam cleaning operations to the ground.” (FAC, ¶ 352). Plaintiffs
                                                               15   provide no identification of what hazardous substance, if any, was contained in the
                                                               16   “waste from its steam cleaning operations.”
                                                               17                      3.   1988 Alleged Discharge of Clarifier Contents
                                                               18            The FAC alleges that in 1988, during a rainstorm, two subsurface clarifiers
                                                               19   “full of waste” overflowed, “spilling to the ground.” (FAC, ¶ 352).
                                                               20            A notice of violation from the Santa Fe Springs Fire Department dated May,
                                                               21   18, 1988, alleged that the “Company’s sewer lateral plugged,” that “industrial
                                                               22   wastewater overflowed from the collection sump and from the two abandoned
                                                               23   clarifiers on Master Box Co. property,” and that “Oil from the 2 clarifiers spilled
                                                               24   onto Master Box Co. access loading area.” 31
                                                               25            A notice of violation from the Santa Fe Springs Fire Department dated May,
                                                               26
                                                                    29
                                                                       Id.
                                                               27   30
                                                                       Ex. K to Wick Decl., at p. 7.
                                                               28   31
                                                                       Ex. F to Wick Decl.
                                                                                                                         MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   19, 1988, alleged that the clarifier contained “excessive oil/grease/solids.” 32
                                                                2   Petroleum is excluded from the definition of “hazardous substance” under
                                                                3   CERCLA. 33 And even if there had been any hazardous substances released, they
                                                                4   have not made their way to into OU-2 groundwater.
                                                                5   IV.      DR. KULLA’S EXPERT REPORT
                                                                6            Dr. Jean Kulla has a Ph.D. in Geochemistry and more than 25 years of
                                                                7   experience assessing contaminated soil and groundwater. An internationally-
                                                                8   recognized expert in hydrogeochemistry, Dr. Kulla was asked to assess whether the
                                                                9   Patsouras Property has been or is contributing hazardous substances to the Omega
                                                               10   Groundwater Plume (OU-2) underlying the Property.
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                                                               11            A.        THE PROPERTY IS NOT A CONTRIBUTING SOURCE OF
                                                               12                      HAZARDOUS SUBSTANCES TO OU-2
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                                                               13            Dr. Kulla reviewed more than ninety (90) reports with soil and groundwater
                                                               14   data from the Property, neighboring properties, and the Omega Site. Her
                                                               15   conclusion was that “there is no evidence, historical or more recent, that shows that
                                                               16   the Patsouras Property has been, is, or threatens to be a contributing source of
                                                               17   hazardous substances to OU-2.”34
                                                               18            B.        PLAINTIFFS’ ALLEGATIONS ARE UNSUPPORTABLE
                                                               19            Plaintiffs allege “specifically” that five hazardous substances —PCE, TCE,
                                                               20   1,1-DCE, chloroform, and hexavalent chromium—were released onto the Property
                                                               21
                                                               22
                                                                    32
                                                                       Id.
                                                               23   33
                                                                       42 U.S.C. § 9601(40)(“petroleum, including crude oil or any fraction
                                                               24   thereof,” is excluded from the definition of “hazardous substance”).
                                                                    34
                                                                       Ex. K to Wick Decl., p. 1. In fact, the data indicate that the PCE in the soil
                                                               25
                                                                    gas is the result of volatilization from the regionally-contaminated groundwater;
                                                               26   higher concentrations of PCE and TCE soil gas vapor at the deeper depth, closer to
                                                                    the regionally-contaminated OU-2 groundwater, with decreasing concentration
                                                               27
                                                                    upward to shallow depth, is consistent with Fick’s Law. Ex. D to Wick Decl., pp.
                                                               28   17-18.
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   soil and have migrated from the soil surface into OU-2. 35
                                                                2                      1.   The Property Soil Sampling Data Refute Plaintiffs’
                                                                3                           Allegations
                                                                4            Dr. Kulla demonstrates that the Property soil data contradict Plaintiffs’
                                                                5   assertions. On the West Parcel of the Property, at least 123 soil samples were taken
                                                                6   between 1994 and 2010, and no PCE, TCE, 1,1-DCE, or chloroform were
                                                                7   detected.36 Total chromium was detected, but at concentrations so low they were
                                                                8   within background levels for regional soils—within concentration ranges normally
                                                                9   found in natural, uncontaminated soil. 37 On the East Parcel of the Property, at least
                                                               10   137 soil samples were taken between 1994 and 2010. PCE and TCE were found in
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                                                               11   only a few soil samples at very low concentrations 38 and no 1,1-DCE, or
                                                               12   chloroform was detected.39 Chromium was detected, but within background
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                                                               13   ranges.40
                                                               14            In other words, there simply is no evidence of Plaintiffs’ allegations of a
                                                               15   release of PCE, TCE, 1,1-DCE, chloroform, or hexavalent chromium on the
                                                               16   Property that could impact OU-2. Those hazardous substances were either not
                                                               17   detected at all or, in the case of PCE and TCE, detected in trace amounts in only a
                                                               18   few of 260 total samples—not releases that would cause groundwater
                                                               19   contamination 35 to 74 feet below ground surface.
                                                               20            Indeed, as Dr. Kulla observed, the primary compounds found on the Property
                                                               21   were heavy petroleum hydrocarbons and arsenic. 41 The heavy petroleum
                                                               22
                                                               23   35
                                                                       Ex. A to Wick Decl. (FAC ¶ 355).
                                                               24   36
                                                                       Id., p. 3.
                                                                    37
                                                                       Id.
                                                               25   38
                                                                       Id. The maximum concentration of PCE was 0.51 mg/kg and of TCE was
                                                               26   0.27 mg/kg.
                                                                    39
                                                                       Id.
                                                               27   40
                                                                       Id.
                                                               28   41
                                                                       Id., p. 4.
                                                                                                                           MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   hydrocarbons did not make their way to OU-2 groundwater, wouldn’t be soluble in
                                                                2   the groundwater if they had, and aren’t hazardous substances under CERCLA in
                                                                3   any event. 42 The arsenic concentrations found in the soil were within background
                                                                4   levels for regional soils, “indicating that the arsenic on the Property is naturally
                                                                5   occurring.”43
                                                                6                      2.   The Groundwater Data Refute Plaintiffs’ Allegations
                                                                7            The groundwater sampling data contradict Plaintiffs’ assertions as well. PCE
                                                                8   concentrations in the upgradient wells were greater than or similar to concentrations
                                                                9   in the wells on the Property in all the groundwater samples (except for one sample
                                                               10   in 2013). 44 These data indicate that the Property is not a source of PCE to
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                                                               11   groundwater. Instead, the PCE contamination in groundwater beneath the Property
                                                               12   “is due to regional groundwater contamination originating from the Omega Site and
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                                                               13   additional PCE contributions sourced from neighbor-ing and upgradient properties
                                                               14   including from Site F and Techni-Braze.”45
                                                               15            TCE concentrations TCE in the upgradient wells were greater than or similar
                                                               16   to the TCE concentrations in the wells on the Property in all the groundwater
                                                               17   samples (except for one sample in 2012). These data indicate that the Property is
                                                               18   not a source of TCE to groundwater. 46
                                                               19            Numerous environmental consultants and regulators have evaluated the soil
                                                               20   and groundwater data relating to the Patsouras Property and upgradient properties,
                                                               21   and Dr. Kulla notes: “None of those involved with direct investigations of the
                                                               22   Property have found evidence of chemicals from the Property impacting or having
                                                               23
                                                               24
                                                                    42
                                                                        42 U.S.C. § 9601(40)(“petroleum, including crude oil or any fraction
                                                               25
                                                                    thereof,” is excluded from the definition of “hazardous substance”).
                                                               26   43
                                                                       Id., p. 4.
                                                                    44
                                                                       Id., p. 6.
                                                               27   45
                                                                       Id.
                                                               28   46
                                                                       Id., p. 7.
                                                                                                                          MOVING DEFENDANTS’ JOINT NOTICES,
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                                                                1   impacted the underlying groundwater.”47
                                                                2   V.         CONCLUSION
                                                                3              The EPA has notified numerous parties that they are PRPs because their
                                                                4   properties may be contributing hazardous substances to OU-2 groundwater, but
                                                                5   EPA has elected not to notify the Patsouras Defendants.
                                                                6              EPA’s environmental consultant, CH2M Hill, identified properties located
                                                                7   over the OU-2 groundwater plume which were sources of hazardous substances to
                                                                8   groundwater, but did not identify the Patsouras Property as an on-going or
                                                                9   historical source of hazardous substances to the groundwater.
                                                               10              The Regional Water Quality Control Board formally concluded that the
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                                                               11   Patsouras Property is not contributing to the OU-2 plume.
                                                               12              The environmental consultants who have investigated the Property concluded
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                                                               13   that hazardous substances have not migrated from the soil surface to 35 to 74 feet
                                                               14   below ground surface to the OU-2 groundwater.
                                                               15              Environmental consultant BEA concluded that the low level and isolated low
                                                               16   volume of all potentially hazardous substances identified posed no threat to
                                                               17   groundwater, and “had insufficient mass for vertical migration, with sorption and
                                                               18   desorption, in excess of a few feet” (with the depth of groundwater ranging from
                                                               19   about 35 feet to more than 74 feet below ground surface). Environmental
                                                               20   consultant EAI came to the same conclusion: the hazardous substances detected in
                                                               21   groundwater were not a result of former activities on the Property.
                                                               22              Dr. Kulla corroborates the agency and consultant conclusions.
                                                               23              For Plaintiffs to recover their OU-2 response costs from the Patsouras
                                                               24   Property Defendants, any hazardous substances which may have been released onto
                                                               25   the soil decades ago at the Patsouras Property would have to have traveled from the
                                                               26   soil surface to a depth of 35 to 74 feet below ground surface to end up in the OU-2
                                                               27
                                                                    47
                                                                         Id.
                                                               28
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                                                                1   groundwater. And that simply has not happened. Therefore, the Patsouras Property
                                                                2   Defendants’ Motion for Summary Judgment should be granted.
                                                                3
                                                                4    DATED: January 14, 2021             WACTOR & WICK LLP
                                                                5
                                                                6                                  By:         /s/ William D. Wick
                                                                                                         William D. Wick
                                                                7
                                                                                                         Attorneys for Defendant Halliburton
                                                                8                                        Affiliates, LLC
                                                                9
                                                                     DATED: January 14, 2021             BASSI EDLIN HUIE & BLUM LLP
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                                                   By:         /s/ Farheena A. Habib
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                                                               13
                                                                                                         Attorneys for Interveners Fireman’s Fund
                                                               14                                        Insurance Company and Federal Insurance
                                                               15                                        Company, as Insurers for Palley Supply
                                                                                                         Company
                                                               16
                                                               17
                                                                     DATED: January 14, 2021             OTTEN LAW, PC
                                                               18
                                                               19                                  By:         /s/ Victor Otten
                                                                                                         Victor Otten
                                                               20                                        Attorneys for Defendant Kekropia, Inc.
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                                                                1        CERTIFICATION OF CONCURRENCE FROM ALL SIGNATORIES
                                                                2            I, Peter A. Nyquist, am the ECF user whose ID and password are being used
                                                                3   to file this MOVING DEFENDANTS’ JOINT NOTICES, MSJS and PS&AS ISO
                                                                4   MSJS. In compliance with C.D. Cal. Civ. L.R. 5-4.3.4(a)(2)(i), I hereby attest that I
                                                                5   have obtained the concurrence of each signatory to this document.
                                                                6
                                                                     DATED: January 14, 2021                GREENBERG GLUSKER FIELDS
                                                                7                                           CLAMAN & MACHTINGER LLP
                                                                8
                                                                9
                                                                                                      By:          /s/ Peter A. Nyquist
                                                               10
                                                                                                            David E. Cranston
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                                                               11                                           Peter A. Nyquist
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                                                               13                                           Attorneys for Defendant Union Pacific
                                                                                                            Railroad Company
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